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                         UNITED STATES DISTRICT COURT FOR THE
                             NORTHERN DISTRICT OF TEXAS
                                    Fort Worth Division

                                                  )
  UNITED STATES OF AMERICA,                       )
                                                  )
            Plaintiff,                            )    4:21-cr-5-O
                                                  )
                    v.                            )    Violation:
                                                  )
  THE BOEING COMPANY,                             )    18 U.S.C. § 371
                                                  )
            Defendant.                            )
                                                  )

                                       PLEA AGREEMENT

        The United States of America, by and through the Department of Justice, Criminal

 Division, Fraud Section (the “Fraud Section”) and the United States Attorney’s Office for the

 Northern District of Texas (“USAO-NDTX”) (collectively, the “Offices”), and the Defendant, The

 Boeing Company (the “Defendant”), by and through its undersigned attorneys, and through its

 authorized representatives, pursuant to authority granted by the Defendant’s Board of Directors,

 hereby submit and enter into this plea agreement (the “Agreement”), pursuant to Rule 11(c)(1)(C)

 of the Federal Rules of Criminal Procedure. The terms and conditions of this Agreement are as

 follows:

                                    The Defendant’s Agreement

        1.         Pursuant to Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure, the

 Defendant agrees to plead guilty to Conspiracy to Defraud the United States, in violation of Title

 18, United States Code, Section 371, as described in Paragraph 1 of the Deferred Prosecution

 Agreement (“DPA”) (ECF No. 4) and charged in the pending one-count Criminal Information that

 accompanied the DPA (the “Information”) (ECF No. 1). The Defendant further agrees to persist




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 in that plea through sentencing and to cooperate fully with the Offices as set forth in Paragraph 11.

 The Defendant is subject to prosecution for this offense following the determination by the Offices

 that the Defendant breached the DPA, which the Defendant entered into with the Offices on

 January 7, 2021. Specifically, as described in the Offices’ Factual Basis for Breach attached to this

 Agreement as Attachment A-1, the Offices determined that the Defendant breached the terms of

 the DPA by failing to sufficiently design, implement, and enforce a compliance and ethics program

 to prevent and detect violations of the U.S. fraud laws throughout its operations.

        2.      The Defendant understands that, to be guilty of this offense, the following essential

 elements of the offense must be satisfied:

                Count One

                a.      That the Defendant, through its employees, made an agreement to defraud

 the government or one of its agencies by impairing, obstructing, defeating, and interfering with,

 by dishonest means, the lawful function of the Federal Aviation Administration Aircraft

 Evaluation Group (“FAA AEG”) within the United States Department of Transportation, as

 charged in the Information;

                b.      That the Defendant, through its employees, knew that the purpose of the

 agreement was to defraud the government and joined in it willfully, that is, with the intent to

 defraud; and

                c.      That at least one of the conspirators during the existence of the conspiracy

 knowingly committed at least one of the overt acts described in the Information, in order to

 accomplish some object or purpose of the conspiracy.

        3.      The Defendant understands and agrees that this Agreement is between the Offices

 and the Defendant and does not bind any other Division or Section of the Department of Justice or




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 any other federal, state, or local prosecuting, administrative, or regulatory authority. Nevertheless,

 the Offices will bring this Agreement and the nature and quality of the conduct, cooperation, and

 remediation of the Defendant, its direct or indirect affiliates, subsidiaries, and joint ventures, to the

 attention of other prosecuting authorities or other agencies, as well as debarment authorities, if

 requested by the Defendant.

         4.      The Defendant agrees that this Agreement will be executed by an authorized

 corporate representative. The Defendant further agrees that a resolution duly adopted by the

 Defendant’s Board of Directors in the form attached to this Agreement as Attachment B

 (“Certificate of Corporate Resolutions”), authorizes the Defendant to enter into this Agreement

 and take all necessary steps to effectuate this Agreement, and that the signatures on this Agreement

 by the Defendant and its counsel are authorized by the Defendant’s Board of Directors, on behalf

 of the Defendant.

         5.      The Defendant agrees that it has the full legal right, power, and authority to enter

 into and perform all of its obligations under this Agreement.

         6.      The Offices enter into this Agreement based on their assessment of the individual

 facts and circumstances presented by this case, including:

                 a.      the Offices’ determination that the Defendant breached the terms of the

 DPA by failing to design, implement, and enforce a compliance and ethics program, including

 failing to sufficiently integrate its ethics and compliance program with its safety and quality

 programs, as necessary to prevent and detect violations of the U.S. fraud laws throughout its

 operations, as described in the Factual Basis for Breach attached to this Agreement as Attachment

 A-1;




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                b.     the nature and seriousness of the offense conduct, as described in the

 Statement of Facts attached to this Agreement as Attachment A-2, which involved the Defendant,

 through its employees, deceiving the FAA AEG about the Boeing 737 MAX’s Maneuvering

 Characteristics Augmentation System (“MCAS”) that impacted its flight control system. Through

 this deception, the Company interfered with the FAA AEG’s lawful function to evaluate MCAS

 and determine whether to include information about MCAS in the 737 MAX FSB Report, and

 fraudulently obtained from the FAA AEG a differences-training determination for the 737 MAX

 that was based on incomplete and inaccurate information about MCAS;

                c.     although the Defendant had inadequate anti-fraud controls and an

 inadequate anti-fraud compliance program during the period of conduct charged in the

 Information, the Defendant took considerable steps to enhance its compliance program through

 structural and leadership changes, including but not limited to steps to enhance the independence,

 capability, and effectiveness of its compliance program; steps to enhance its annual Compliance

 Risk Management process; and steps to integrate compliance efforts across its business, and has

 committed to continuing to implement and test further enhancements to ensure that its compliance

 program satisfies the minimum elements set forth in Attachment C to this Agreement (“Corporate

 Compliance Program”);

                d.     however, based on the state of the Defendant’s compliance program and the

 progress of its remediation, including the fact that the Defendant’s anti-fraud compliance program

 and internal controls have not been fully implemented or tested to demonstrate that they would

 prevent and detect similar misconduct in the future, and because of the deficiencies in the

 Defendant’s anti-fraud compliance program and internal controls as determined by the Offices and

 as described in the Factual Basis for Breach attached to this Agreement as Attachment A-1, the




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 Defendant has agreed to the imposition of an independent compliance monitor (the “Independent

 Compliance Monitor”) to reduce the risk of misconduct (as set forth in Paragraphs 29-37 and

 Attachment D to this Agreement);

                e.     the Defendant has agreed to continue to cooperate with the Offices as

 described in Paragraph 11, below;

                f.     the Defendant has agreed to pay lawful restitution owed to the heirs,

 relatives, and/or legal beneficiaries of the crash victims of Lion Air Flight 610 and Ethiopian

 Airlines Flight 302 (collectively, “Crash Victim Families”). The amount owed shall be determined

 by the Court and subject to any timely and proper appeal; and

                g.     based on these and other relevant considerations, and pursuant to Paragraph

 26 of the DPA, the Offices believe that the appropriate resolution of the Defendant’s breach of the

 DPA is for the Defendant to plead guilty to Count One of the Information; the imposition of an

 Independent Compliance Monitor as set forth in Paragraphs 29-37 and Attachment D to this

 Agreement; to make a sustained monetary investment in its compliance and safety programs of at

 least $455,000,000, which, on an annualized basis, is an amount equal to at least approximately

 75% more than the Company’s expenditure on compliance in fiscal year 2024; and to pay an

 overall criminal monetary fine of $487,200,000, which reflects a fine at the top of the applicable

 Sentencing Guidelines fine range and the maximum fine allowable under Title 18, United States

 Code, Sections 371 and 3571(c). As required by Paragraph 11 of the DPA, the Offices will

 recommend to the Court when imposing sentence that it credit $243,600,000 previously paid by

 the Defendant pursuant to the DPA, resulting in a remaining criminal penalty owed by the

 Company of $243,600,000, because the United States Sentencing Guidelines calculation set forth




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 in this Agreement and in the DPA are the same and the penalty the Defendant paid pursuant to the

 DPA was based on this Guidelines calculation.

        7.      The Defendant agrees to abide by all terms and obligations of this Agreement as

 described herein, including, but not limited to, the following:

                a.      to plead guilty as set forth in this Agreement;

                b.      to abide by all sentencing stipulations contained in this Agreement;

                c.      to appear, through its duly appointed representatives, as ordered for all court

 appearances, and obey any other ongoing court order in this matter, consistent with all applicable

 U.S. and foreign laws, procedures, and regulations;

                d.      to commit no further crimes;

                e.      to be truthful at all times with the Court;

                f.      to pay the applicable fine and special assessment;

                g.      during the term of probation imposed pursuant to this Agreement, to make

 a sustained monetary investment in its compliance and safety programs of at least $455,000,000;

                h.      to facilitate and conduct a meeting between the Defendant’s Board of

 Directors and the Crash Victim Families and their counsel as described in Paragraph 25(h);

                i.      to cooperate fully with the Offices as described in Paragraph 11;

                j.      to accept the appointment of and retain an Independent Compliance

 Monitor; and

                k.      to implement a compliance and ethics program reasonably designed to

 prevent and detect violations of the U.S. fraud laws throughout its operations, including integration

 of the ethics and compliance program with the Company’s safety and quality programs as

 necessary to prevent and detect violations of the U.S. fraud laws throughout its operations. This




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 program will also include, but not be limited to, implementation of the minimum elements set forth

 in Attachment C of this Agreement.

        8.      The Defendant represents that it has endeavored to implement and will continue to

 implement a compliance and ethics program reasonably designed, implemented, and enforced to

 prevent and detect violations of U.S. fraud laws throughout its operations, including those of its

 affiliates, agents, and joint ventures, and those of its contractors and subcontractors whose

 responsibilities relate to the Defendant’s interactions with any domestic or foreign government

 agency (including the FAA), regulator, or any of its airline customers, including, but not limited

 to, the minimum elements set forth in Attachment C. On the date the Term (as defined in Paragraph

 14) expires, the Defendant, by its Chief Executive Officer and Chief Compliance Officer, will

 certify to the Offices, in the form of executing the document attached as Attachment F to this

 Agreement, that the Defendant has met its compliance obligations pursuant to this Agreement.

 This certification will be deemed a material statement and representation by the Defendant to the

 executive branch of the United States for purposes of 18 U.S.C. § 1001, and it will be deemed to

 have been made in the judicial district in which this Agreement is filed. In assessing the

 Defendant’s compliance program, the Offices may consider the Independent Compliance

 Monitor’s certification decision.

        9.      In order to address any deficiencies in its internal controls, policies, and procedures,

 the Defendant represents that it has undertaken, and will continue to undertake in the future, in a

 manner consistent with all of its obligations under this Agreement, a review of its existing internal

 controls, compliance policies, and procedures regarding compliance with U.S. federal fraud laws,

 including the adequacy of the controls, compliance policies, and procedures to address safety-

 related fraud risks. Where necessary and appropriate, the Defendant will adopt new or modify




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 existing internal controls, compliance policies, and procedures in order to ensure that the

 Defendant maintains an effective compliance program reasonably designed to effectively detect

 and deter violations of U.S. federal fraud laws, including the integration of its ethics and

 compliance program with its safety and quality programs as necessary to reasonably prevent

 violations of U.S. fraud laws or policies. The compliance program will include, but not be limited

 to, the minimum elements set forth in Attachment C.

        10.     Except as may otherwise be agreed by the parties in connection with a particular

 transaction, the Defendant agrees that in the event that, during the Term (as defined in Paragraph

 14), the Defendant undertakes any change in corporate form, including if it sells, merges, or

 transfers business operations that are material to the Defendant’s consolidated operations, or to the

 operations of any subsidiaries or affiliates involved in the conduct described in Attachment A-2 of

 the Agreement attached hereto, as they exist as of the date of this Agreement, whether such sale is

 structured as a sale, asset sale, merger, transfer, or other change in corporate form, it shall include

 in any contract for sale, merger, transfer, or other change in corporate form a provision binding

 the purchaser, or any successor in interest thereto, to the obligations described in this Agreement.

 The purchaser or successor in interest must also agree in writing that the Offices’ ability to breach

 under this Agreement is applicable in full force to that entity. The Defendant agrees that the failure

 to include these provisions in the transaction will make any such transaction null and void. The

 Defendant shall provide notice to the Offices at least thirty (30) days prior to undertaking any such

 sale, merger, transfer, or other change in corporate form. The Offices shall notify the Defendant

 prior to such transaction (or series of transactions) if they determine that the transaction(s) will

 have the effect of circumventing or frustrating the enforcement purposes of this Agreement. If at

 any time during the Term (as defined in Paragraph 14) the Defendant engages in a transaction(s)




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 that has the effect of circumventing or frustrating the enforcement purposes of this Agreement, the

 Offices may deem it a breach of this Agreement pursuant to Paragraphs 38-43. Nothing herein

 shall restrict the Defendant from indemnifying (or otherwise holding harmless) the purchaser or

 successor in interest for penalties or other costs arising from any conduct that may have occurred

 prior to the date of the transaction, so long as such indemnification does not have the effect of

 circumventing or frustrating the enforcement purposes of this Agreement, as determined by the

 Offices.

        11.     The Defendant shall cooperate fully with the Offices in any and all matters relating

 to the conduct described in this Agreement and Attachment A-2 and any other conduct under

 investigation by the Offices, or any other component of the Department of Justice at any time

 during the Term (as defined in Paragraph 14), until the later of the date upon which all

 investigations and prosecutions arising out of such conduct are concluded, or the end of the Term

 (as defined in Paragraph 14). At the request of the Offices, the Defendant shall also cooperate fully

 with other domestic or foreign law enforcement and regulatory authorities and agencies in any

 investigation of the Defendant, its parent company or its affiliates, or any of its present or former

 officers, directors, employees, agents, and consultants, or any other party, in all matters relating to

 the conduct described in this Agreement and the attached Statement of Facts and any other conduct.

 The Defendant’s cooperation pursuant to this Paragraph is subject to applicable law and

 regulations as well as valid claims of attorney-client privilege or attorney work product doctrine;

 however, the Defendant must provide to the Offices a log of any information or cooperation that

 is not provided based on an assertion of law, regulation, or privilege, and the Defendant bears the

 burden of establishing the validity of any such assertion. The Defendant agrees that its cooperation

 pursuant to this Paragraph shall include, but not be limited to, the following:




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                 a.      The Defendant represents that it has truthfully disclosed (1) all factual

  information with respect to its activities, those of its subsidiaries and affiliates, and those of its

  present and former directors, officers, employees, agents, and consultants, relating to the conduct

  described in this Agreement and Attachment A-2, and (2) all factual information with respect to

  its activities, those of its affiliates, and those of its present and former directors, officers,

  employees, agents, and consultants related to the conduct described in this Agreement or

  Attachment A-2 about which the Defendant shall gain any knowledge or about which the Offices

  have inquired or may inquire. This obligation of truthful disclosure includes, but is not limited to,

  the obligation of the Defendant to provide to the Offices, upon request, any document, record, or

  other tangible evidence about which the Offices may inquire of the Defendant, including evidence

  that is responsive to any requests made prior to the execution of this Agreement.

                 b.      Upon request of the Offices, the Defendant shall designate knowledgeable

  employees, agents, or attorneys to provide to the Offices the information and materials described

  in Paragraph 11(a) above on behalf of the Defendant. It is further understood that the Defendant

  must at all times provide complete, truthful, and accurate information.

                 c.      The Defendant shall use its best efforts to make available for interviews or

  testimony, as requested by the Offices, present or former officers, directors, employees, agents,

  and consultants of the Defendant. This obligation includes, but is not limited to, sworn testimony

  before a federal grand jury or in federal trials, as well as interviews with domestic or foreign law

  enforcement and regulatory authorities. Cooperation under this Paragraph shall include

  identification of witnesses who, to the knowledge of the Defendant, may have material information

  regarding the matters under investigation.




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                 d.      With respect to any information, testimony, documents, records, or other

  tangible evidence provided to the Offices pursuant to this Agreement, the Defendant consents to

  any and all disclosures to other governmental authorities, including United States authorities and

  those of a foreign government, of such materials as the Offices, in their sole discretion, shall deem

  appropriate.

         12.     In addition to the obligations provided for in Paragraph 11 of the Agreement, during

  the Term (as defined in Paragraph 14), should the Defendant learn of any evidence or allegation

  of a violation of U.S. fraud laws committed by the Defendant’s employees or agents upon any

  domestic or foreign government agency (including the FAA), regulator, or any of the Defendant’s

  airline customers, the Defendant shall promptly report such evidence or allegation to the Offices.

  On the date the Term (as defined in Paragraph 14) expires, the Defendant, by the Chief Executive

  Officer of the Defendant and the Chief Financial Officer of the Defendant, will certify to the

  Offices in the form of executing the document attached as Attachment E to this Agreement that

  the Defendant has met its disclosure obligations pursuant to this Paragraph. Each certification will

  be deemed a material statement and representation by the Defendant to the executive branch of the

  United States for purposes of 18 U.S.C. § 1001, and it will be deemed to have been made in the

  judicial district in which this Agreement is filed.

         13.     The Defendant agrees that any fine imposed by the Court will be due and payable

  as specified in Paragraph 25 below, and that any restitution owed will be due and payable in

  accordance with the Court’s order upon the completion of any timely and properly noticed appeal.

  The Defendant further agrees to pay the Clerk of the Court for the United States District Court for

  the Northern District of Texas the mandatory special assessment of $400 within ten (10) business

  days of the date of sentencing.




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                   Term of the Defendant’s Obligations Under the Agreement

         14.     Except as otherwise provided in Paragraph 11 above in connection with the

  Defendant’s cooperation obligations, the Defendant’s obligations under the Agreement shall be

  effective for a period beginning on the date on which this Agreement is entered and ending three

  years from the later of the date on which this Agreement is entered or the date on which the

  Independent Compliance Monitor is retained by the Defendant, as described in Paragraphs 29-37

  below (the “Term”). The Defendant agrees, however, that in the event the Offices determine, in

  their sole discretion, that the Defendant has knowingly violated any provision of this Agreement

  or failed to completely perform or fulfill each of the Defendant’s obligations under this Agreement,

  the Offices, in their sole discretion, may impose an extension or extensions of the Term for up to

  a total additional time period of one year, without prejudice to the Offices’ right to proceed as

  provided in Paragraphs 38-43 below. Any extension of the Term extends all terms of this

  Agreement, including the Independent Compliance Monitor terms described in Attachment D,

  except for the term of probation, which may be extended only with approval from the Court.

  Conversely, in the event the Offices find, in their sole discretion, that there exists a change in

  circumstances sufficient to eliminate the need for the Independent Compliance Monitor prior to

  the Defendant having served three years of the term of probation, the parties will submit a joint

  motion to modify the conditions of probation to eliminate the special condition that the Company

  retain an Independent Compliance Monitor. Defendant will then continue on probation until it has

  served the full three-year term of probation, absent Court approval for early termination of

  probation. In addition, in the event the Offices determine, in their sole discretion, to extend the

  term of the Independent Compliance Monitor beyond three years, or the term of probation is

  scheduled to end before the term of the Independent Compliance Monitor is complete, the Court




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  will determine whether to extend the Defendant’s term of probation, consistent with 18 U.S.C.

  § 3565, to run concurrent with all or part of the term of the Independent Compliance Monitor.

                                    The United States’ Agreement

         15.     In exchange for the guilty plea of the Defendant and the complete fulfillment of all

  of its obligations under this Agreement, the Offices agree that they will not file additional criminal

  charges against the Defendant or any of its direct or indirect affiliates, subsidiaries, or joint

  ventures relating to any of the conduct described in Attachment A-2. This Agreement does not

  provide any protection against, and the Offices may use any information related to the conduct

  described in Attachment A-2 against Defendant in, any prosecution or other proceeding relating

  to (a) obstruction of justice; (b) perjury or making a false statement; (c) any crime of violence or

  terrorism-related offense; or (d) a violation of any provision of Title 26 of the United States Code.

  This Agreement does not provide any protection against prosecution for any past or ongoing

  conduct not included in Attachment A-2 or for future conduct by the Defendant or any of its direct

  or indirect subsidiaries and affiliates. The Defendant agrees that nothing in this Agreement is

  intended to release the Defendant from any and all of the Defendant’s tax liabilities and reporting

  obligations for any and all income not properly reported and/or legally or illegally obtained or

  derived.

         16.     In addition, this Agreement does not provide any protection against prosecution of

  any individuals, regardless of their affiliation with the Defendant.

                                             Factual Basis

         17.     The Defendant is pleading guilty because it is guilty of the charge contained in the

  Information. The Defendant admits, agrees, and stipulates that the factual allegations set forth in

  the Information and Attachment A-2 are true and correct, that it is responsible for the acts of its




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  officers, directors, employees, and agents described in the Information and Attachment A-2, and

  that the Information and Attachment A-2 accurately reflect the Defendant’s criminal conduct. The

  Defendant stipulates to the admissibility of the Statement of Facts in Attachment A-2 in any

  proceeding by the Offices, including any trial, guilty plea, or sentencing proceeding, and will not

  contradict anything in the Statement of Facts in Attachment A-2 at any such proceeding. The

  parties stipulate that the representations and views in Attachment A-1 belong to the Offices.

                The Defendant’s Waiver of Rights, Including the Right to Appeal

         18.     Federal Rule of Criminal Procedure 11(f) and Federal Rule of Evidence 410 limit

  the admissibility of statements made in the course of plea proceedings or plea discussions in both

  civil and criminal proceedings, if the guilty plea is later withdrawn. The Defendant expressly

  warrants that it has discussed these rules with its counsel and understands them. Solely to the extent

  set forth below, the Defendant voluntarily waives and gives up the rights enumerated in Federal

  Rule of Criminal Procedure 11(f) and Federal Rule of Evidence 410. The Defendant agrees that,

  effective as of the date the Court accepts this Agreement and the Defendant signs this Agreement

  in connection with that acceptance, the Defendant will not dispute the Statement of Facts set forth

  in Attachment A-2 to this Agreement, and that the Statement of Facts set forth in Attachment A-2

  shall be admissible against the Defendant in any criminal case involving the Offices and the

  Defendant, as: (a) substantive evidence offered by the government in its case-in-chief and rebuttal

  case; (b) impeachment evidence offered by the government on cross-examination; and (c) evidence

  at any sentencing hearing or other hearing. In addition, the Defendant also agrees not to assert any

  claim under the Federal Rules of Evidence (including Rule 410 of the Federal Rules of Evidence),

  the Federal Rules of Criminal Procedure (including Rule 11 of the Federal Rules of Criminal

  Procedure), or the United States Sentencing Guidelines (“Sentencing Guidelines,” “Guidelines,”




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  or “U.S.S.G.”) (including U.S.S.G. § 1B1.1(a)) that the Statement of Facts set forth in Attachment

  A-2 to this Agreement should be suppressed or is otherwise inadmissible as evidence (in any form).

  Specifically, the Defendant understands and agrees that any statements that it makes in the course

  of its guilty plea or in connection with the Agreement are admissible against it for any purpose in

  any U.S. federal criminal proceeding if, even though the Offices have fulfilled all of their

  obligations under this Agreement and the Court has accepted the guilty plea, the Defendant

  nevertheless withdraws its guilty plea.

         19.     The Defendant is satisfied that the Defendant’s attorneys have rendered effective

  assistance. The Defendant understands that by entering into this agreement, the Defendant

  surrenders certain rights as provided in this agreement. The Defendant understands that the rights

  of criminal defendants include the following:

                 a.       the right to plead not guilty and to persist in that plea;

                 b.       the right to a jury trial;

                 c.       the right to be represented by counsel – and if necessary have the court

  appoint counsel – at trial and at every other stage of the proceedings;

                 d.       the right at trial to confront and cross-examine adverse witnesses, to testify

  and present evidence, and to compel the attendance of witnesses; and

                 e.       pursuant to Title 18, United States Code, Section 3742, the right to appeal

  the sentence imposed.

         20.     The Defendant knowingly waives the right to appeal or collaterally attack the

  conviction and any sentence within the statutory maximum set forth in this agreement (or the

  manner in which that sentence was determined) on any ground whatsoever except those

  specifically excepted in this Agreement, in exchange for the commitments made by the United




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  States in this Agreement. This Agreement does not affect the rights or obligations of the United

  States as set forth in Title 18, United States Code, Section 3742(b). The Defendant hereby waives

  all rights, whether asserted directly or by a representative, to request or receive from any

  department or agency of the United States any records pertaining to the investigation or

  prosecution of this case, including without limitation any records that may be sought under the

  Freedom of Information Act, Title 5, United States Code, Section 552, or the Privacy Act, Title 5,

  United States Code, Section 552a. The Defendant waives all defenses based on the statute of

  limitations and venue with respect to any prosecution related to the conduct described in

  Attachment A-2 or the Information, including any prosecution that is not time-barred on the date

  that this Agreement is signed in the event that: (a) the conviction is later vacated for any reason;

  (b) the Defendant violates this Agreement; or (c) the plea is later withdrawn, provided such

  prosecution is brought within one year of any such vacation of conviction, violation of agreement,

  or withdrawal of plea plus the remaining time period of the statute of limitations as of the date that

  this Agreement is signed. The Offices are free to take any position on appeal or any other post-

  judgment matter. The Defendant recognizes that the Court has found that the Crash Victim

  Families were directly and proximately harmed by the Defendant’s conduct as charged in the

  Information, see 4:21-cr-5-O (ECF No. 116), and are entitled to rights under the Crime Victims’

  Rights Act (“CVRA”). The Defendant further recognizes that the Offices will continue to accord

  the Crash Victim Families their rights as representatives of crime victims under the CVRA,

  including the right to full and timely restitution, as provided by the law, and will not challenge the

  Offices’ ability to do so.

         21.     Nothing in the foregoing waiver of appellate and collateral review rights shall

  preclude the Defendant from (a) appealing any restitution order the Court imposes; (b) appealing




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  the criminal fine if the Court does not credit the $243,600,000 previously paid by the Defendant

  pursuant to the DPA; or (c) raising a claim of ineffective assistance of counsel in an appropriate

  forum.

                                                Penalty

           22.   The statutory maximum sentence that the Court can impose for a violation of Title

  18, United States Code, Section 371, is a fine of $500,000 or twice the pecuniary gross gain or

  pecuniary gross loss resulting from the offense, whichever is greatest, Title 18, United States Code,

  Section 371 and Title 18, United States Code, Section 3571(c), (d); five years’ probation, Title 18,

  United States Code, Section 3561(c)(1); and a mandatory special assessment of $400, Title 18,

  United States Code, Section 3013(a)(2)(B). In this case, the parties agree that the gross pecuniary

  gain resulting from the offense is $243,600,000. Therefore, pursuant to Title 18, United States

  Code, Section 3571(d), the parties agree the maximum fine that may be imposed is $487,200,000.

                                    Sentencing Recommendation

           23.   The parties agree that pursuant to United States v. Booker, 543 U.S. 220 (2005), the

  Court must determine an advisory Sentencing Guidelines range. The Court will then determine a

  reasonable sentence within the statutory range after considering the advisory Sentencing

  Guidelines range and the factors listed in Title 18, United States Code, Section 3553(a). The

  parties’ agreement herein to any Guideline sentencing factors constitutes proof of those factors

  sufficient to satisfy the applicable burden of proof. The Defendant also understands that if the

  Court accepts this Agreement, the Court is bound by the sentencing provisions in Paragraph 25.

           24.   The Offices and the Defendant agree that a faithful application of the Sentencing

  Guidelines to determine the applicable fine range yields the following analysis:

                 a.      The 2018 U.S.S.G. are applicable to this matter.




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              b.       Offense Level. Based upon U.S.S.G. § 2B1.1, the total offense level is 34,
                       calculated as follows:

                       (a)(2)           Base Offense Level                           6

                       (b)(1)(N)        Amount of Loss/Gain                         +26

                       (b)(10)          Sophisticated Means                         +2
                                                                                    ___
                       TOTAL                                                        34

              c.       Base Fine. Based upon U.S.S.G. § 8C2.4(a)(2), which imposes a base fine
                       equal to the pecuniary gain to the organization from the offense if such gain
                       is greater than the amount indicated in the Offense Level Fine Table, the
                       base fine is $243,600,000 (representing Boeing’s cost-savings, associated
                       with the implementation of full-flight simulator training for the 737 MAX).

              d.       Culpability Score. Based upon U.S.S.G. § 8C2.5, the culpability score is 5,
                       calculated as follows:

                       (a)       Base Culpability Score                              5

                       (b)(4) the organization had 50 or more employees and an
                              individual within substantial authority personnel
                              participated in, condoned, or was willfully ignorant
                              of the offense                                       +2

                       (g)(2) The organization cooperated in the investigation,
                              and clearly demonstrated recognition and
                              affirmative acceptance of responsibility for its
                              criminal conduct                                  -2
                                                                                ___
                       TOTAL                                                     5


              Calculation of Fine Range:

                       Base Fine                                            $243,600,000

                       Multipliers                                          1.0 (min) / 2.0 (max)

                       Fine Range                                           $243,600,000 (min) /
                                                                            $487,200,000 (max)




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         25.     Pursuant to Rule 11(c)(1)(C) of the Federal Rules of Criminal Procedure, the

  Offices and the Defendant agree that the following represents the appropriate sentence of the case:

                a.       Disposition. The appropriate criminal fine is $487,200,000. This penalty

  reflects a fine at the top of the applicable Sentencing Guidelines fine range, which in this case is

  the statutory maximum fine. The parties recommend that when imposing sentence, the Court credit

  $243,600,000 previously paid by the Defendant pursuant to the DPA, resulting in a remaining

  criminal monetary penalty of $243,600,000 (the “Total Criminal Fine”), because the United States

  Sentencing Guidelines calculation set forth in this Agreement and in the DPA are the same and the

  penalty the Company paid pursuant to the DPA was based on this Guidelines calculation. The

  Defendant shall pay the fine imposed by the Court in full at the time of the entry of judgment

  following such sentencing hearing (“the recommended sentence”).

                b.       Mandatory Special Assessment. The Defendant shall pay to the Clerk of the

  Court for the United States District Court for the Northern District of Texas within ten (10) days

  of the time of sentencing the mandatory special assessment of $400.

                c.       Restitution. Based on the offense charged in the Information, and the factual

  allegations establishing that offense set forth in the Information and Attachment A-2, restitution is

  discretionary pursuant to Title 18, United States Code, Section 3663, and not mandatory pursuant

  to Title 18, United States Code, Section 3663A. The Court will determine whether restitution is

  owed to any Crash Victim Family, whom the Court previously determined were directly and

  proximately harmed by the Defendant’s conduct as charged in the Information, see 4:21-cr-5-O

  (ECF No. 116). The Offices retain the right to support any legally authorized claim for restitution

  presented by a Crash Victim Family. The Defendant retains the right to contest any restitution

  claim and make any argument related thereto, including but not limited to the argument that, with




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  respect to any restitution amount the Court determines the Defendant owes a Crash Victim Family,

  the Court should credit, and thus deduct from the restitution amount, any other amount the

  Defendant has previously paid to the Crash Victim Family. Any restitution ordered by the Court

  will be due and payable in accordance with the Court’s order upon the completion of any timely

  and properly noticed appeal. The parties agree that no mandatory restitution is owed to such

  parties, and that the Court shall not order the Defendant to pay any restitution amount to the

  Defendant’s airline entity customers, or any third parties asserting a restitution claim on behalf of

  an airline entity customer or derivative of a restitution claim of an airline entity customer, or any

  other third parties that may assert a restitution claim.

                d.       Forfeiture. Forfeiture is not applicable to the offense charged.

                e.       Probation. The Defendant shall serve a three-year term of organizational

  probation imposed pursuant to Title 18, United States Code, Sections 3551(c)(1) and 3561(c)(1).

  In the event the Offices find, in their sole discretion pursuant to Paragraph 14, that there exists a

  change in circumstances sufficient to eliminate the need for the Independent Compliance Monitor

  during the term of probation, the parties will submit a joint motion to modify the special conditions

  of probation to eliminate the special condition that the Company retain an Independent Compliance

  Monitor. Defendant will continue on probation until it has served the full three years, unless the

  Court approves early termination of probation. Conversely, in the event the Offices determine, in

  their sole discretion pursuant to Paragraph 14, to extend the term of the Independent Compliance

  Monitor beyond three years, the Court will determine whether to extend the Defendant’s term of

  probation, consistent with Title 18, United States Code, Section 3565, to run concurrent with all

  or part of the extended term of the Independent Compliance Monitor. Pursuant to U.S.S.G. §§




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  8B1.2, 8D1.3, and 8D1.4, the term of probation shall include as conditions the obligations set forth

  in Paragraphs 7(a)-(j), 11, and 12 above and Paragraphs 25(a)-(h).

                f.       Probation Condition – Retention of Independent Compliance Monitor. A

  condition of probation shall be that the Defendant retain an Independent Compliance Monitor, as

  provided in Paragraph 7(j). However, the condition of probation is limited to the retention of the

  Independent Compliance Monitor—not oversight of the Independent Compliance Monitor or the

  Company’s compliance with the Independent Compliance Monitor’s recommendations. Rather,

  the Independent Compliance Monitor will report to and be overseen by the Offices. The

  Independent Compliance Monitor’s selection process, mandate, duties, review, and certification

  as described in Paragraphs 29-37 and Attachment D, and the Defendant’s compliance obligations

  as described in Paragraphs 7(k), 8, and 9 and Attachment C, are not conditions of probation.

                g.       Probation Condition – Safety and Compliance Investment. A condition of

  probation shall be that over the term of probation, the Defendant shall invest in its compliance,

  quality, and safety programs, a total of at least $455,000,000, representing on an average annual

  basis an increase of approximately 75% above the Defendant’s previously planned expenditures

  on its corporate compliance program for fiscal year 2024.1 The Defendant shall periodically, and

  no less than annually, provide proof of the accumulated investment amounts to the Offices and the

  Probation Office. Expenditures the Defendant makes to implement internal support to, or the

  recommendations of, the Independent Compliance Monitor are qualifying investments, but not the

  fees and costs the Defendant pays for the services of the Independent Compliance Monitor and the

  Independent Compliance Monitor’s team.


  1
    Nothing in this Agreement can be construed as establishing, interpreting, or modifying any
  aviation safety standard or requirement applicable to Defendant’s operations or products that exist
  under federal law, regulation, and guidance, or as otherwise established and overseen by the
  Federal Aviation Administration.

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                h.       Probation Condition – Meeting Between Board of Directors and Crash

  Victim Families. A condition of probation shall be that the Defendant ensure that its Board of

  Directors holds a meeting with the Crash Victim Families, should they wish to attend, and their

  legal representatives within four (4) months after the Defendant is sentenced. The Defendant shall

  meet and confer with the representatives of the Crash Victim Families in a good faith effort to

  select a mutually agreeable date and location for the meeting. To facilitate the in-person attendance

  of the greatest number of attendees practicable, the meeting will be scheduled to occur near in time

  with a regularly scheduled meeting of the Board of Directors. The meeting will be held in person

  with an option for Crash Victim Families and their legal representatives and Boeing Board

  members located outside the United States to join virtually if they choose not to attend in person,

  though at least 80 percent of Boeing Board members must attend in person. The Defendant shall

  arrange and pay for interpreters to provide translation services during the meeting for the following

  languages, if needed: Amharic, Bahasa, French, German, Mandarin and Norwegian. The Boeing

  Board members shall be present for the entirety of the meeting. The purpose of the meeting is for

  the Board of Directors to hear from the Crash Victim Families about the impact of the Defendant’s

  conduct and recommendations for the Defendant to improve its compliance, safety, and quality

  programs. Within three (3) business days after the meeting, the Defendant shall confirm to the

  Offices and the Probation Office that the meeting took place.

         26.     This Agreement is presented to the Court pursuant to Rule 11(c)(1)(C) of the

  Federal Rules of Criminal Procedure. The Defendant understands that, if the Court rejects this

  Agreement, the Court must: (a) inform the parties that the Court rejects the Agreement; (b) advise

  the Defendant’s counsel that the Court is not required to follow the Agreement and afford the

  Defendant the opportunity to withdraw its plea; and (c) advise the Defendant that if the plea is not




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  withdrawn, the Court may dispose of the case less favorably toward the Defendant, if the

  Defendant ultimately were prosecuted and convicted, than the Agreement contemplated. The

  Defendant further understands that if the Court refuses to accept any provision of this Agreement,

  neither party shall be bound by the provisions of the Agreement.

         27.     The Defendant and the Offices waive the preparation of a Pre-Sentence

  Investigation Report (“PSR”) and intend to seek a sentencing by the Court immediately following

  the Rule 11 hearing in the absence of a PSR. The Defendant understands that the decision whether

  to proceed with the sentencing proceeding without a PSR is exclusively that of the Court. In the

  event the Court directs the preparation of a PSR, the Offices will fully inform the preparer of the

  PSR and the Court of the facts and law related to the Defendant’s case.

         28.     Notwithstanding the preceding Paragraph, for the purposes of addressing

  restitution, the Defendant and the Offices intend to request that the Court (a) order the Probation

  Officer to prepare a report with information sufficient for the Court to exercise its discretion in

  fashioning a restitution order, pursuant to Title 18, United States Code, Section 3664(a); and (b)

  schedule a restitution hearing to be held no more than ninety (90) days after sentencing for the

  Court to make a final determination of any restitution amount the Defendant owes, pursuant to

  Title 18, United States Code, Section 3664(d)(5).

                                 Independent Compliance Monitor

         29.     Promptly after the Offices’ selection pursuant to Paragraph 35 below, the

  Defendant agrees to retain an Independent Compliance Monitor for the Term specified in

  Paragraph 14. The Independent Compliance Monitor’s duties and authority, and the obligations of

  the Defendant with respect to the Independent Compliance Monitor and the Offices, are set forth

  in Attachment D, which is incorporated by reference into this Agreement.




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         30.      On the date this Agreement is accepted by the Court, the Offices will solicit

  applications for Independent Compliance Monitor candidates on its public website. Independent

  Compliance Monitor candidates shall have fourteen (14) days after the publication of the

  solicitation to submit a written application to the Offices, providing, at a minimum, the following:

                  a.     a description of the candidate’s qualifications and credentials in support of

  the evaluative considerations and factors listed below;

                  b.     proposed members of the monitorship team and their qualifications and

  credentials in support of the minimum requirements listed below;

                  c.     proposed methodology for testing and review to carry out the Independent

  Compliance Monitor’s mandate as articulated in Attachment D;

                  d.     proposed rates for each member of the monitorship team and estimated cost

  of the monitorship based on the Independent Compliance Monitor mandate articulated in

  Attachment D;

                  e.     a written certification by the candidate (and each proposed member of the

  monitorship team) that he/she will not be employed by or be affiliated with the Defendant for a

  period of not less than three years from the date of the termination of the monitorship;

                  f.     a written certification by the candidate (and each proposed member of the

  monitorship team) that he/she has no personal, professional, or financial interest in the Defendant

  or any legal matters involving the Defendant;

                  g.     a written response to a conflict/ethics questionnaire, including disclosing

  whether the candidate (and each proposed member of the monitorship team) is a current or prior

  employee, agent, or representative of the Defendant, its competitors, its customers, the crash

  victims or their families, or any individuals involved in a safety incident involving the Defendant,




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  or holds a personal, professional, or financial interest in, or has a relationship with, or is involved

  in any legal matters involving the Defendant, its subsidiaries, affiliates, or related entities, or its

  employees, officers, or directors, its competitors, its customers, the crash victims or their families,

  or any individuals involved in a safety incident involving the Defendant. This disclosure will also

  address whether any applicant has taken—or is a member of or affiliated with any organization

  that has taken—a position or issued any public statement concerning Boeing or the Lion Air Flight

  610 and Ethiopian Airlines Flight 302 accidents; and

                 h.      a written certification by the candidate that he/she (and each proposed

  member of the monitorship team) has either obtained written informed consent from any clients

  that the candidate (and each proposed member of the monitorship team) represents in a matter

  involving the Offices to apply to be an Independent Compliance Monitor, and if selected, to serve

  as an Independent Compliance Monitor or has withdrawn as counsel in the other matter(s).

         31.     The Independent Compliance Monitor candidates and their team members shall

  have, at a minimum, the following qualifications (additional preferred qualifications will be

  articulated in the posting):

                 a.      demonstrated expertise with respect to U.S. fraud laws, including

 experience counseling on anti-fraud compliance issues;

                 b.      previous service as an independent compliance monitor or other substantial

 demonstrated experience designing, evaluating, or administrating corporate compliance programs

 and internal controls, including anti-fraud policies, procedures, and internal controls, for a publicly

 traded company;

                 c.      the ability to access and deploy resources as necessary to discharge the

 Independent Compliance Monitor’s duties as described in the Agreement; and




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                 d.      sufficient independence from the Defendant, its competitors, and any

 individuals involved in a safety incident involving the Defendant, among others, to ensure effective

 and impartial performance of the Independent Compliance Monitor’s duties as described in the

 Agreement.

         32.     The Offices shall select six (6) candidates that meet the requirements in Paragraphs

  30 and 31 above. Each of the six candidates will meet with the Defendant, and the Offices would

  then solicit feedback from the candidates and the Defendant. If the Defendant believes in good

  faith that any of the six candidates do not meet the requirements in Paragraphs 30 and 31 above or

  is an otherwise inappropriate selection, and the Offices concur, the Offices will identify another

  candidate or candidates and the process will continue until the Offices have a pool of six qualified

  candidates.

         33.     The Defendant shall have the opportunity to strike one (1) of the six (6) candidates

  from the final pool identified by the Offices. The Offices retain the right, in their sole discretion,

  to select the Independent Compliance Monitor from the remaining pool of at least five (5)

  Independent Compliance Monitor candidates. Independent Compliance Monitor selections shall

  be made in keeping with the Department’s commitment to diversity and inclusion. The Offices

  will use their best efforts to complete the selection process within ninety (90) days of the execution

  of this Agreement. If the Independent Compliance Monitor resigns or is otherwise unable to fulfill

  his or her obligations as set out herein and in Attachment D, the Offices shall within thirty (30)

  days choose a replacement from the remaining pool of candidates. The term, however, will run

  from the date the first Independent Compliance Monitor was retained.

         34.     The process for ultimate approval of the Independent Compliance Monitor

  candidate and monitorship team will include voting by the Criminal Division’s Standing




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  Committee on Monitor Selection, review of the selection by the head of the Criminal Division,

  and approval by the Office of the Deputy Attorney General, consistent with Sections E.3 through

  E.6 of the Criminal Division’s Revised Memorandum on Selection of Monitors in Criminal

  Division Matters, dated March 1, 2023, available at https://www.justice.gov/criminal/criminal-

  fraud/file/1100366/dl.

         35.    The Offices will notify the Court under seal of their intent to select a certain

  candidate as Independent Compliance Monitor; and after ten (10) days, the Offices will finalize

  the selection and appoint the Independent Compliance Monitor.

         36.    The Independent Compliance Monitor’s term shall be three years from the date on

  which the Independent Compliance Monitor is retained by the Defendant, subject to extension or

  early termination as described in Paragraph 14.

         37.    The Independent Compliance Monitor’s powers, duties, and responsibilities, as

  well as additional circumstances that may support an extension of the Independent Compliance

  Monitor’s term, are set forth in Attachment D. The Defendant agrees that it will not employ or be

  affiliated with the Independent Compliance Monitor (and each proposed member of the

  monitorship team) or the Independent Compliance Monitor’s employer (and the employer for each

  proposed member of the monitorship team) for a period of not less than three years from the date

  on which the Independent Compliance Monitor’s term expires. Nor will the Defendant discuss

  with the Independent Compliance Monitor (and each proposed member of the monitorship team)

  or the Independent Compliance Monitor’s employer (and the employer for each proposed member

  of the monitorship team) the possibility of further employment or affiliation during the

  Independent Compliance Monitor’s term. Upon agreement by the parties, this prohibition will not

  apply to other monitorship responsibilities that the Independent Compliance Monitor or the




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  Independent Compliance Monitor’s firm may undertake in connection with related resolutions

  with foreign or other domestic authorities.

                                        Breach of Agreement

         38.     If, during the term, the Defendant (a) commits any felony under U.S. federal law;

  (b) provides in connection with this Agreement deliberately false, incomplete, or misleading

  information; (c) fails to cooperate as set forth in Paragraphs 11 and 12 of this Agreement; (d) fails

  to implement a compliance program as set forth in Paragraphs 8 and 9 of this Agreement and

  Attachment C; (e) commits any acts that, had they occurred within the jurisdictional reach of the

  U.S. fraud laws, would be a violation of the U.S. fraud laws; or (f) otherwise fails specifically to

  perform or to fulfill completely each of the Defendant’s obligations under the Agreement, and is

  found to have breached the Agreement by the Court pursuant to Paragraph 39 or by the Offices

  pursuant to Paragraph 40, regardless of whether the Offices become aware of such a breach after

  the Term, the Defendant shall thereafter be subject to prosecution for any federal criminal violation

  of which the Offices have knowledge, including, but not limited to, additional charges arising out

  of the conduct described in the Statement of Facts attached as Attachment A-2, distinct from the

  charges in the Information described in Paragraph 1, as well as charges related to any additional

  criminal conduct, if appropriate. Such charges may be pursued by the Offices in the U.S. District

  Court for the Northern District of Texas or any other appropriate venue. Determination of whether

  the Defendant has breached the Agreement and whether to pursue prosecution of the Defendant

  shall be in the Offices’ sole discretion. Any such prosecution may be premised on information

  provided by the Defendant or its personnel. Any such prosecution relating to the conduct described

  in the Statement of Facts attached to this Agreement as Attachment A-2 or relating to conduct

  known to the Offices prior to the date on which this Agreement was signed that is not time-barred




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  by the applicable statute of limitations on the date of the signing of this Agreement may be

  commenced against the Defendant, notwithstanding the expiration of the statute of limitations,

  between the signing of this Agreement and the expiration of the Term plus one year. Thus, by

  signing this Agreement, the Defendant agrees that the statute of limitations with respect to any

  such prosecution that is not time-barred on the date of the signing of this Agreement shall be tolled

  for the Term plus one year. The Defendant gives up all defenses based on the statute of limitations,

  any claim of pre-indictment delay, or any speedy trial claim with respect to any such prosecution

  or action, except to the extent that such defenses existed as of the date of the signing of this

  Agreement. In addition, the Defendant agrees that the statute of limitations as to any violation of

  federal law that occurs during the term of the cooperation obligations provided for in Paragraph

  11 of the Agreement will be tolled from the date upon which the violation occurs until the earlier

  of the date upon which the Offices are made aware of the violation or the duration of the term plus

  five years, and that this period shall be excluded from any calculation of time for purposes of the

  application of the statute of limitations.

          39.     If the Offices determine that the Defendant has breached any obligations that are

  also conditions of probation—specifically Paragraphs 7(a)–(j), 11, 12, or 25—the Offices will

  notify the Defendant, and the Defendant will have the ability to respond as described in Paragraph

  41. If, after review of the Defendant’s response, the Offices maintain that the Defendant has

  breached, they will notify the Probation Office and the Court. If the Court finds that such a breach

  and corresponding probation violation occurred, the Offices may pursue prosecution of the

  Defendant as discussed in Paragraph 38.

          40.     Determination of whether the Defendant has breached any other obligations—that

  are not also conditions of probation—shall be in the sole discretion of the Offices.




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         41.     In the event that the Offices determine that the Defendant has breached this

  Agreement—whether the breach is of a condition of probation or not—the Offices agree to provide

  the Defendant with written notice of such breach prior to instituting any prosecution resulting from

  such breach. Within thirty (30) days of receipt of such notice, the Defendant shall have the

  opportunity to respond to the Offices in writing to explain the nature and circumstances of such

  breach, as well as the actions the Defendant has taken to address and remediate the situation, which

  explanation the Offices shall consider in determining next steps pursuant to Paragraph 38.

         42.     In the event that the Offices determine that the Defendant has breached this

  Agreement: (a) all statements made by or on behalf of the Defendant to the Offices or to the Court,

  including the Statement of Facts attached hereto as Attachment A-2, and any testimony given by

  the Defendant before a grand jury, a court, or any tribunal, or at any legislative hearings, whether

  prior or subsequent to this Agreement, and any leads derived from such statements or testimony,

  shall be admissible in evidence in any and all criminal proceedings brought by the Offices against

  the Defendant; and (b) the Defendant shall not assert any claim under the United States

  Constitution, Rule 11(f) of the Federal Rules of Criminal Procedure, Rule 410 of the Federal Rules

  of Evidence, or any other federal rule that any such statements or testimony made by or on behalf

  of the Defendant prior or subsequent to this Agreement, or any leads derived therefrom, should be

  suppressed or are otherwise inadmissible. The decision whether conduct or statements of any

  current director, officer or employee, or any person acting on behalf of, or at the direction of, the

  Defendant, will be imputed to the Defendant for the purpose of determining whether the Defendant

  has violated any provision of this Agreement shall be in the sole discretion of the Offices.

         43.     The Defendant acknowledges that the Offices have made no representations,

  assurances, or promises concerning what sentence may be imposed by the Court if the Defendant




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  breaches this Agreement and is subsequently prosecuted for any crime, or if the breach constitutes

  a violation of the Defendant’s probation. The Defendant further acknowledges that any such

  sentence is solely within the discretion of the Court and that nothing in this Agreement binds or

  restricts the Court in the exercise of such discretion.

                                 Public Statements by the Defendant

         44.     The Defendant expressly agrees that it shall not, through present or future attorneys,

  officers, directors, employees, agents or any other person authorized to speak for the Defendant

  make any public statement, in litigation or otherwise, contradicting the acceptance of responsibility

  by the Defendant set forth above or the facts described in the Information and Attachment A-2.

  Any such contradictory statement shall, subject to cure rights of the Defendant described below,

  constitute a breach of this Agreement, and the Defendant thereafter shall be subject to prosecution

  as set forth in Paragraphs 38-43 of this Agreement. The decision whether any public statement by

  any such person contradicting a fact contained in the Information or Attachment A-2 will be

  imputed to the Defendant for the purpose of determining whether it has breached this Agreement

  shall be at the sole discretion of the Offices. If the Offices determine that a public statement by

  any such person contradicts in whole or in part a statement contained in the Information or

  Attachment A-2, the Offices shall so notify the Defendant, and the Defendant may avoid a breach

  of this Agreement by publicly repudiating such statement(s) within five (5) business days after

  notification. The Defendant shall be permitted to raise defenses and to assert affirmative claims in

  other proceedings relating to the matters set forth in the Information and Attachment A-2 provided

  that such defenses and claims do not contradict, in whole or in part, a statement contained in the

  Information or Attachment A-2. This Paragraph does not apply to any statement made by any

  present or former officer, director, employee, or agent of the Defendant in the course of any




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  criminal, regulatory, or civil case initiated against such individual, unless such individual is

  speaking on behalf of the Defendant.

             45.   The Defendant agrees that if it or any of its direct or indirect subsidiaries or

  affiliates over which the Defendant exercises control issues a press release or holds any press

  conference in connection with this Agreement, the Defendant shall first consult the Offices to

  determine (a) whether the text of the release or proposed statements at the press conference are

  true and accurate with respect to matters between the Offices and the Defendant; and (b) whether

  the Offices have any objection to the release or statement.

                                         Complete Agreement

             46.   This document states the full extent of the Agreement between the parties. There

  are no other promises or agreements, express or implied. Any modification of this Agreement shall

  be valid only if set forth in writing in a supplemental or revised plea agreement signed by all

  parties.

  AGREED:

  FOR THE BOEING COMPANY:


  Date: ____________                            By:     ___________________________________
                                                        [NAME]
                                                        President and Chief Executive Officer
                                                        THE BOEING COMPANY


  Date: ____________                            By:     ___________________________________
                                                        [NAME]
                                                        Chief Legal Officer and Executive Vice
                                                        President, Global Compliance
                                                        THE BOEING COMPANY


  Date: ____________                            By:     ___________________________________
                                                        [OUTSIDE COUNSEL FOR COMPANY]
                                                        [LAW FIRM]


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                                               Outside counsel for [COMPANY]

  Date: ____________                    By:    ___________________________________
                                               [OUTSIDE COUNSEL FOR COMPANY]
                                               [LAW FIRM]
                                               Outside counsel for [COMPANY]


  FOR THE DEPARTMENT OF JUSTICE:


  Date:                                        GLENN S. LEON
                                               Chief, Fraud Section, Criminal Division
                                               United States Department of Justice


                                        By:    _____________________________
                                               [TRIAL ATTORNEY]



  Date:                                        LEIGHA SIMONTON
                                               United States Attorney
                                               Northern District of Texas


                                        By:    _____________________________
                                               [ASSISTANT U.S. ATTORNEY]




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                                         ATTACHMENT A-1

                                 FACTUAL BASIS FOR BREACH

         1.      The United States’ Factual Basis for the Breach of the January 7, 2021 Deferred

  Prosecution Agreement (the “DPA”), which DPA was between the United States Department of

  Justice, Criminal Division, Fraud Section (the “Fraud Section”) and the United States Attorney’s

  Office for the Northern District of Texas (the “USAO-NDTX”) (collectively, the “Offices”), and

  the Defendant, The Boeing Company (“Defendant,” “Boeing,” or the “Company”) is incorporated

  by reference as part of the plea agreement, dated [ ] between the Offices and Boeing. The parties

  stipulate that the representations and views herein belong to the Offices.

  I.     Background and Relevant DPA Obligations

         2.      On January 7, 2021, the United States filed a one-count criminal Information (the

  “Information”) in the United States District Court for the Northern District of Texas, charging

  Boeing with one count of conspiracy to defraud the United States, in violation of Title 18, United

  States Code, Section 371, that is, knowingly and willfully, and with the intent to defraud, conspired

  and agreed together with others to defraud the United States by impairing, obstructing, defeating,

  and interfering with, by dishonest means, the lawful function of a United States government

  agency, to wit, the Federal Aviation Administration Aircraft Evaluation Group (“FAA AEG”)

  within the United States Department of Transportation, in connection with the FAA AEG’s

  evaluation of the Boeing 737 MAX airplane’s Maneuvering Characteristics Augmentation System,

  including for purposes of the 737 MAX Flight Standardization Board Report and the 737 MAX

  differences-training determination. See United States v. The Boeing Company, 21-cr-00005-O

  (ECF No. 1).




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         3.      The same day, the United States also filed the DPA between the United States and

  Boeing. See ECF No. 4. In exchange for Boeing agreeing, among other things, “to implement a

  compliance and ethics program designed, implemented, and enforced to prevent and detect

  violations of the U.S. fraud laws throughout its operations,” the United States agreed to defer

  prosecution of Boeing for the conduct set forth in the Statement of Facts attached to the DPA,

  including the conspiracy charged in the Information, for the three-year term of the DPA. Id. ¶¶ 21,

  22, 24. The United States further agreed that, if Boeing complied fully with the terms of the DPA,

  the United States would move to dismiss the Information described in Paragraph 1 of the DPA six

  months after the term of the DPA expired. Id. ¶ 25. The DPA provided, however, that if the United

  States determined during the six-month period following the end of the term of the DPA that

  Boeing had breached the DPA during the DPA term, the United States could pursue remedies for

  the breach, including by prosecuting the Company for any federal criminal violation of which the

  Offices have knowledge, including, but not limited to, the charges in the Information. Id. ¶¶ 25–

  26. As part of the DPA, the Company also agreed, among other things, to pay a criminal monetary

  penalty of $243,600,000, an Airline Compensation Amount of $1,770,000,000, and a Crash-Victim

  Beneficiaries Compensation Amount of $500,000,000 to the heirs, relatives, and/or legal

  beneficiaries of the crash victims of Lion Air Flight 610 and Ethiopian Airlines Flight 302. Id. ¶¶

  10, 12, 13.

         4.      Relevant to the United States’ breach determination, Paragraphs 21 and 22 of the

  DPA state:

                 21.    The Company represents that it has implemented and will
                 continue to implement a compliance and ethics program designed,
                 implemented, and enforced to prevent and detect violations of the
                 U.S. fraud laws throughout its operations, including those of its
                 subsidiaries, affiliates, agents, and joint ventures, and those of its
                 contractors and subcontractors whose responsibilities relate to the



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                 Company’s interactions with any domestic or foreign government
                 agency (including the FAA), regulator, or any of its airline
                 customers, including, but not limited to, the minimum elements set
                 forth in Attachment C.

                 22.     In order to address any deficiencies in its internal controls,
                 policies, and procedures, the Company represents that it has
                 undertaken, and will continue to undertake in the future, in a manner
                 consistent with all of its obligations under this Agreement, a review
                 of its existing internal controls, policies, and procedures regarding
                 compliance with U.S. fraud laws, focusing on the Company’s
                 interactions with domestic or foreign government agencies
                 (including the FAA), regulators, and any of its airline customers.
                 Where necessary and appropriate, the Company agrees to adopt a
                 new compliance program, or to modify its existing one, including
                 internal controls, compliance policies, and procedures in order to
                 ensure that it maintains an effective compliance program, including
                 a system of internal controls, designed to effectively detect and deter
                 violations of U.S. fraud laws. The compliance program, including
                 the internal controls system, will include, but not be limited to, the
                 minimum elements set forth in Attachment C [which outlined the
                 requirements for the Company’s compliance program].

  II.    The United States’ Breach Determination

         5.      At the time of the conduct described in Attachment A-2, Boeing did not have a

  centralized compliance function. Boeing appointed its first Global Chief Compliance Officer

  (“CCO”) and established its Global Compliance function (“Global Compliance” or “Compliance”)

  in May of 2020. During the term of the DPA, Boeing took considerable steps to enhance the

  independence, capability, and effectiveness of its compliance program. Among other things,

  Boeing enhanced its annual Compliance Risk Management process, including in ways that

  strengthened compliance controls with respect to potential safety and quality risks, and took steps

  to integrate compliance efforts across its business. As direct remediation of the charged

  misconduct, Boeing implemented policies and procedures to manage and coordinate the formal

  communication of information between Boeing and its regulators and customers and mandatory

  training regarding transparency in interactions with regulators and customers. Despite these



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  enhancements, in the Offices’ view, Boeing failed to sufficiently extend its anti-fraud ethics and

  compliance program over its quality and manufacturing process before the end of the DPA term.

  As a result, the Department determined that Boeing’s anti-fraud compliance program still has

  significant gaps.

         6.        The United States, in an exercise of the discretion conferred upon it by the agreed

  upon terms of the DPA (namely, Paragraph 26 of the DPA), has determined that Boeing violated

  Paragraphs 21 and 22 and Attachment C of the DPA and declared a breach of the DPA on May 14,

  2024. Relevant considerations in arriving at that determination and making that declaration include

  the following:

              •    Boeing failed to fully satisfy the requirement to “create and foster a culture of ethics
                   and compliance with the law in its day-to-day operations,” Attachment C ¶ 1, by
                   failing to mitigate known manufacturing and quality risks;
              •    Boeing failed to fully satisfy the requirement to implement “compliance policies
                   and procedures designed to reduce the prospect of violations of U.S. fraud laws and
                   the Company’s compliance code,” Attachment C ¶ 3, by failing to design a
                   compliance and ethics program that included sufficient anti-fraud oversight of
                   Boeing’s quality and safety processes;
              •    Boeing failed to fully satisfy the requirement to implement “compliance policies
                   and procedures designed to reduce the prospect of violations of U.S. fraud laws and
                   the Company’s compliance code,” Attachment C ¶ 3, by failing to implement
                   sufficient controls concerning the risk that Boeing’s airworthiness certifications to
                   the FAA could be incomplete, inaccurate, false and/or fraudulent;
              •    Boeing failed to fully satisfy the requirement to implement “compliance policies
                   and procedures designed to reduce the prospect of violations of U.S. fraud laws and
                   the Company’s compliance code,” Attachment C ¶ 3, by failing to implement
                   sufficient controls concerning the risk of incomplete, inaccurate, false and/or
                   fraudulent statements in Boeing’s manufacturing records; and
              •    Boeing failed to fully satisfy the requirement to appropriately develop and adjust
                   “compliance policies and procedures on the basis of a periodic risk assessment
                   addressing the individual circumstances of the Company,” Attachment C ¶ 4, and
                   to review and update such policies “as appropriate to ensure their continued
                   effectiveness,” Attachment C ¶ 5, in light of known manufacturing and quality risks,



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                  and the attendant risks of incomplete, inaccurate, false, and/or fraudulent
                  statements to the FAA.
  III.    Failure to Extend Anti-Fraud Compliance Program Over Quality and
          Manufacturing Processes

          7.      Before delivering a 737 MAX aircraft to a U.S. customer, Boeing must apply to the

  FAA for a U.S. Airworthiness Certificate for each aircraft. In so doing, Boeing certifies to the FAA

  “that the aircraft has been inspected and is airworthy,” meaning, “the aircraft conforms to its type

  design and is in a condition for safe operation.” FAA Form 8130-6; 14 C.F.R. § 3.5. A Boeing

  employee makes this certification in reliance on the completeness, accuracy, and truthfulness of

  the Company’s build records and the effectiveness of related manufacturing and quality processes.

  Although Boeing knew about manufacturing, quality, safety, and anti-fraud risks capable of

  undermining the completeness, accuracy, and truthfulness of those records, Boeing did not

  implement additional or sufficient controls concerning the risk that its certifications of

  airworthiness to the FAA could be incomplete, inaccurate, false and/or fraudulent and that aircraft

  delivered to its customers “conforms to its type design and is in a condition for safe operation.”

  The Department has determined that these failures breached the DPA, as set forth above and below.

          A.      Out-of-Sequence Work

          8.      Boeing’s instructions for aircraft assembly require assembly to occur in a particular

  sequence. When a sequenced step is performed inadequately or not completed, it may be

  discovered and corrected at a later stage. Correction of the inadequate or incomplete work must

  then be done “out-of-sequence.” Out-of-sequence work is more difficult to perform, increases the

  risk that defects in manufacturing will occur, and may require installed parts to be removed and

  later re-installed.

          9.      Between 2021 and 2023, Boeing conducted several Safety Risk Management

  assessments that identified out-of-sequence work as a risk factor that could cause the delivery of


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  an   “unairworthy”    or    non-conforming    aircraft   to   Boeing’s   customers.    Despite   the

  acknowledgement of this risk, the Safety Risk Management assessments did not sufficiently

  consider measures to reduce out-of-sequence work. Boeing senior executives prioritized the

  movement of aircraft through Boeing’s factories over reducing out-of-sequence work to ensure

  production quality. Boeing did not implement sufficient policies or procedures to mitigate the risk

  posed by out-of-sequence work.

         10.     Moreover, although fraud is an inherent risk in production and quality compliance

  activities, Boeing’s Safety Risk Management assessments also failed to identify out-of-sequence

  risk as a fraud risk or consider enhanced production procedures, or preventive or detective controls,

  to mitigate the risk. Boeing’s Global Compliance function, which is responsible for Boeing’s anti-

  fraud ethics and compliance program, was not involved in the Safety Risk Assessments.

  Compliance therefore did not evaluate fraud risks associated with out-of-sequence work, including

  the risk of incomplete, inaccurate, false, and/or fraudulent statements to the FAA.

         11.     The United States has determined that Boeing’s failure to identify and adjust its

  ethics and compliance program to address the anti-fraud risks attendant to out-of-sequence work

  violated its obligation to meet the compliance program standards required by DPA Attachment C,

  including Paragraphs 1, 4, and 5.

         B.      Completeness of Records

         12.     Boeing’s airworthiness certifications to the FAA rely on the completeness and

  accuracy of Boeing’s build records and the effectiveness of related manufacturing and quality

  processes. If installed parts are later removed during manufacturing, Boeing policy requires

  Boeing employees to document the removal in certain written records. The creation of a removal

  record initiates a process to ensure proper reinstallation of the part and record the individuals

  involved in removal, reinstallation, and reinspection. If a removal record was not completely


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  resolved in Boeing’s computer systems, including reinstallation and reinspection, a Boeing

  employee would not certify an aircraft as airworthy to the FAA.

          13.     A failure to create a removal record prevents Boeing from verifying that parts are

  correctly or completely re-installed and that its certification stating that the plane is “airworthy” is

  accurate. This recordkeeping failure could also undermine Boeing’s processes for effectively

  responding to, investigating, and remediating potential allegations of violations of the U.S. fraud

  laws or the Company’s compliance code, policies, and procedures, in part because Boeing could

  lack records of who was involved in removing, reinstalling, and reinspecting disturbed installations

  and what they did. See DPA Attachment C ¶ 10.

          14.     Boeing received numerous reports of incidents of non-compliance with its policy

  governing removals throughout the DPA term. In addition, since 2019, the FAA has issued

  numerous formal or informal actions to Boeing related to Boeing’s policy governing removals.

  Compliance was not sufficiently involved in root cause analysis, remediation, or risk mitigation

  related to this process, notwithstanding the (1) impact non-compliance with Boeing’s policy

  governing removals could have on Boeing’s representations regarding its aircraft, and (2)

  recordkeeping consequences. Boeing failed to meet the compliance program standards required by

  DPA Attachment C, including Paragraphs 3, 4, and 5.

          C.      Stamping Issues in Build Records

          15.     Throughout the build process, Boeing mechanics and inspectors affirm (or “stamp”)

  that they have completed work in conformance with requirements. Stamped manufacturing and

  quality records are important for Boeing’s certification to the FAA that an aircraft is airworthy. All

  build plans and required inspections must be stamped by Boeing employees as complete to

  requirements before a Boeing employee certifies an aircraft as airworthy to the FAA. Boeing relies

  on those build and quality stamping records to certify to the FAA that an aircraft is airworthy. False


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  statements in Boeing’s build records pose a fraud risk because they could undermine the

  completeness, accuracy, and truthfulness of Boeing’s representations and certifications to the FAA

  regarding its aircraft, among other issues. Boeing received hundreds of reports of stamping non-

  compliance through its internal reporting channels. Boeing Compliance identified this anti-fraud

  risk during the DPA term and issued training and communications throughout the Company in

  response to the risk. Despite awareness of stamping non-compliance reports, Boeing did not

  conduct sufficient testing to evaluate whether its stamping integrity communications and training

  efforts were effective in practice and stamping issues persisted.

         16.       In or around April 2024, Boeing disclosed to the Fraud Section false stamping

  during the DPA term at the Boeing 787 manufacturing facility in Charleston, South Carolina. The

  false stamps caused Boeing’s quality management systems to reflect that all required steps were

  complete, when they were not. Employees involved in the false stamping did not understand

  Boeing’s stamping policy, were not familiar with its requirements, and were not effectively trained

  on it. Because the build and quality records are the cornerstone of Boeing’s certification that

  aircraft conform to their approved type design, the lack of understanding by Boeing employees of

  the importance of and requirements for stamping integrity calls into question the effectiveness of

  Boeing’s anti-fraud compliance program with respect to the certifications.

         17.       These reported stamping issues highlighted several shortcomings in Boeing’s anti-

  fraud compliance program with respect to stamping integrity, including the following weaknesses:

               •   Boeing did not effectively evaluate its stamping policy to ensure it was effective.
                   Specifically, Boeing failed to measure employee understanding of the policy,
                   including whether employees understood that stamping, build, and quality records
                   were the basis for Boeing’s certification to the FAA of airworthiness.
               •   Boeing did not effectively ensure compliance with its stamping policy.
               •   Boeing did not implement enhanced or remedial controls to prevent or detect
                   stamping policy violations. Rather, Boeing continued to rely on its existing build


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                 and inspection record process to support its certification to the FAA of aircraft
                 airworthiness.
         18.     Complete, accurate, and truthful build records are the basis for Boeing’s

  certification of airworthiness to the FAA. In the face of known manufacturing, quality, safety, and

  anti-fraud risks which undermine the completeness, accuracy, and truthfulness of those records,

  Boeing failed to implement additional or sufficient controls concerning the risk that certifications

  of airworthiness to the FAA could be incomplete, inaccurate, false and/or fraudulent and that

  aircraft delivered to its customers “conform[] to its type design and is in a condition for safe

  operation,” in violation of the compliance program standards required by DPA Attachment C,

  including Paragraphs 3, 4, and 5.




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                                       ATTACHMENT A-2

                                    STATEMENT OF FACTS

         1.      The following Statement of Facts is incorporated by reference as part of the Plea

  Agreement between the United States Department of Justice, Criminal Division, Fraud Section

  (the “Fraud Section”), the United States Attorney’s Office for the Northern District of Texas (the

  “USAO-NDTX”) and The Boeing Company (“Boeing” or the “Company”). The Company

  hereby agrees and stipulates that the following information is true and accurate. The Company

  admits, accepts, and acknowledges that it is responsible for the acts of its officers, directors,

  employees, and agents as set forth below. The following facts establish beyond a reasonable doubt

  the offense with which Boeing is charged in the criminal Information, Conspiracy to Defraud the

  United States, in violation of Title 18, United States Code, Section 371, as well as the pecuniary

  gross gain the Company derived from committing the offense:

                                              Background

         At all times relevant to this Statement of Facts, with all dates being approximate and

  inclusive:

   Boeing’s New Airplane: The 737 MAX

         2.      Boeing was a U.S.-based multinational corporation that designed, manufactured,

  and sold commercial airplanes to airlines worldwide. Boeing operated from various locations,

  including in and around Seattle, Washington.

         3.      Boeing’s airline customers included major U.S.-based airlines headquartered in the

  Northern District of Texas and elsewhere.

         4.      The Boeing 737 was a commercial airplane that could seat approximately 200

  passengers and was one of Boeing’s best-selling airplane models. Boeing began designing,




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  manufacturing, and selling the Boeing 737 in the 1960s. Over time, Boeing designed,

  manufactured, and sold new versions of the Boeing 737 to its airline customers, including major

  U.S.-based airlines.

         5.      In or around June 2011, Boeing began developing and marketing a new version of

  its Boeing 737 called the 737 MAX. The 737 MAX was designed by Boeing as a competitive

  answer to a new version of an airplane developed by one of Boeing’s top rivals in commercial

  airplanes, Company-1. Like the new version of Company-1’s airplane, the 737 MAX promised

  increased fuel efficiency over its prior version, the 737 Next Generation (“737 NG”). With this

  increased efficiency, the 737 MAX offered fuel-cost savings for airlines.

  The FAA AEG’s Role in Determining Pilot “Differences Training” for New Airplanes

         6.      Before any U.S.-based airline could operate a new commercial airplane, U.S.

  regulations required the Federal Aviation Administration (“FAA”), an organization within the

  United States Department of Transportation, to evaluate and approve the airplane for commercial

  use. Without this approval, a U.S.-based airline would not be permitted to operate the airplane.

         7.      As part of this evaluation and approval process, the FAA had to make two distinct

  determinations: (i) whether the airplane met U.S. federal airworthiness standards; and (ii) what

  minimum level of pilot training would be required for a pilot to fly the airplane for a U.S.-based

  airline. These two determinations were made by entirely different groups within the FAA that

  were composed of different personnel with different organizational structures and different

  reporting lines.

         8.      The FAA Aircraft Evaluation Group (“AEG”) was principally responsible for

  determining the minimum level of pilot training required for a pilot to fly the airplane for a

  U.S.-based airline. To make that determination, the FAA AEG compared the new version of the




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  airplane (such as the 737 MAX) to a similar, prior version of the airplane (such as the 737 NG).

  After evaluating the differences between the new and prior versions of the airplane, the FAA AEG

  mandated the minimum level of pilot training, known as “differences training,” for the new

  version.

         9.      Based on the nature and extent of the differences between the new and prior version

  of the airplane, the FAA AEG assigned a level of differences training ranging from “Level A”

  through “Level E.” These levels of differences training ranged in rigor, with “Level A” being the

  least intensive and “Level E” being the most intensive. As relevant here, “Level B” differences

  training generally included computer-based training (“CBT”) training, and “Level D” differences

  training generally included full-flight simulator training.

         10.     At the conclusion of the FAA’s evaluation of the new version of the airplane, the

  FAA AEG published a Flight Standardization Board Report (“FSB Report”). Among other things,

  the FSB Report contained relevant information about certain airplane systems and parts that the

  airplane manufacturer was required to incorporate into airplane manuals and pilot-training

  materials for all U.S.-based airlines that would fly the airplane. The FSB Report also contained

  the FAA AEG’s differences-training determination.

                              Boeing’s 737 MAX Chief Technical Pilots

         11.     Boeing’s 737 MAX Flight Technical Team was principally responsible for

  identifying and providing to the FAA AEG all information that was relevant to the FAA AEG in

  connection with the FAA AEG’s publication of the 737 MAX FSB Report. The 737 MAX Flight

  Technical Team was separate and distinct from another group within Boeing that was responsible

  for providing information to the FAA for certification of whether the airplane met U.S. federal

  airworthiness standards.




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         12.     From in or around early 2012 until in or around early 2014, Boeing Employee-1

  was a Technical Pilot for Boeing’s 737 MAX Flight Technical Team. In or around early 2014,

  Boeing Employee-1 became Boeing’s 737 MAX Chief Technical Pilot. In that role, Boeing

  Employee-1 led the 737 MAX Flight Technical Team. In or around July 2018, Boeing Employee-

  1 left Boeing to work for a major U.S.-based airline.

         13.     From in or around mid-2014 until in or around July 2018, Boeing Employee-2 was

  a Technical Pilot for Boeing’s 737 MAX Flight Technical Team. In or around July 2018, after

  Boeing Employee-1 left Boeing, Boeing Employee-2 became Boeing’s 737 MAX Chief Technical

  Pilot. In that role, Boeing Employee-2 led the 737 MAX Flight Technical Team.

         14.     Boeing Employee-1 and Boeing Employee-2 understood that the FAA AEG relied

  on them, as members of Boeing’s 737 MAX Flight Technical Team, to identify and provide to the

  FAA AEG all information that was relevant to the FAA AEG in connection with the FAA AEG’s

  publication of the 737 MAX FSB Report, including information that could impact the FAA AEG’s

  differences-training determination.

         15.     Boeing Employee-1 and Boeing Employee-2 also understood that, because flight

  controls were vital to flying modern commercial airplanes, differences between the flight controls

  of the 737 NG and the 737 MAX were especially important to the FAA AEG for purposes of its

  publication of the 737 MAX FSB Report and the FAA AEG’s differences-training determination.

                     Overview of the Conspiracy to Defraud the FAA AEG

         16.     From at least in and around November 2016 through at least in and around

  December 2018, in the Northern District of Texas and elsewhere, Boeing, through Boeing

  Employee-1 and Boeing Employee-2, knowingly, and with intent to defraud, conspired to defraud

  the FAA AEG.




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         17.     At all times during the conspiracy, Boeing Employee-1 and Boeing Employee-2

  were acting within the scope of their employment and with the intention, at least in part, to benefit

  Boeing. The purpose of the conspiracy was to defraud the FAA AEG by impairing, obstructing,

  defeating, and interfering with the lawful function of the FAA AEG by dishonest means in

  connection with its publication of the 737 MAX FSB Report and its differences-training

  determination for the Boeing 737 MAX, in order to bring about a financial gain to Boeing and to

  benefit Boeing Employee-1 and Boeing Employee-2 in connection with the Boeing 737 MAX.

                        Lead-Up to the Conspiracy and Scheme to Defraud

  Boeing’s Financial Incentive to Secure No Greater than “Level B” Differences Training in the
  737 MAX FSB Report

         18.     As Boeing knew, “Level B” differences training was significantly less expensive

  for airlines to complete than “Level D.” For example, a pilot could complete “Level B” differences

  training from anywhere in the world in a matter of hours using a computer or tablet. In contrast,

  a pilot could complete “Level D” differences training only by appearing in person wherever the

  pilot’s airline operated a full-flight simulator. Apart from the cost of acquiring one or more

  multimillion-dollar simulators and other related expenses, airlines that were required by the FAA

  AEG to train pilots on a full-flight simulator could also lose revenue that the pilot might otherwise

  have generated from flying airline passengers during that time. Accordingly, if the FAA AEG

  required a less rigorous level—such as “Level B”—of differences training for the 737 MAX in the

  737 MAX FSB Report, the 737 MAX would be a more attractive option for Boeing’s airline

  customers already flying the 737 NG than switching to an entirely new airplane, such as the new

  version of Company-1’s airplane, as such customers would save significant money in pilot-training

  costs by transitioning to the 737 MAX.




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         19.    Principally for this reason, Boeing’s stated objectives in designing the 737 MAX

  included securing the FAA AEG’s determination to require no greater than “Level B” differences

  training in the 737 MAX FSB Report. Boeing Employee-1 and Boeing Employee-2 understood

  as much. For example, in or around November 2014, Boeing Employee-2 wrote in an internal

  Boeing electronic chat communication to Boeing Employee-1 that “nothing can jepordize [sic]

  level b[.]” In or around December 2014, Boeing Employee-1 wrote in an email to another Boeing

  employee that “if we lose Level B [it] will be thrown squarely on my shoulders. It was [Boeing

  Employee-1], yes [Boeing Employee-1]! Who cost Boeing tens of millions of dollars!”

  The Maneuvering Characteristics Augmentation System (“MCAS”)

         20.    To achieve its promised fuel efficiency, the 737 MAX used larger engines than the

  737 NG. These larger engines, and their placement under the airplane’s wings, meant that the

  aerodynamics of the 737 MAX differed from those of the 737 NG.

         21.    These different aerodynamics created a new handling characteristic for the 737

  MAX that caused the 737 MAX’s nose to pitch up during a certain flight maneuver called a high-

  speed, wind-up turn. A high-speed, wind-up turn generally involved sharply turning the airplane

  at high speed (approximately Mach 0.6-0.8) in a corkscrew-like pattern.

         22.    A high-speed, wind-up turn was a “certification” maneuver, that is, a maneuver

  outside the limits of what the 737 MAX would be expected to encounter during a normal

  commercial passenger flight. Nevertheless, if Boeing did not fix the 737 MAX’s pitch-up

  characteristic in high-speed, wind-up turns, the FAA could determine that the 737 MAX did not

  meet U.S. federal airworthiness standards.

         23.    To fix this pitch-up characteristic, Boeing created MCAS and incorporated it as a

  part of the 737 MAX’s flight controls. In operation, MCAS would automatically cause the




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  airplane’s nose to pitch down by adjusting the 737 MAX’s horizontal stabilizer (a horizontal tail

  located near the rear of the airplane). As originally designed, MCAS could only activate during a

  high-speed, wind-up turn.

   Boeing Employee-1 and Other Boeing Employees Told the FAA AEG that MCAS was Limited
   to High-Speed, Wind-Up Turns

         24.     In or around June 2015, Boeing Employee-1 and other Boeing employees briefed

  the FAA AEG on MCAS. During this briefing, Boeing described MCAS as a system that could

  only activate during a high-speed, wind-up turn. After the briefing, Boeing Employee-1 and

  another Boeing employee further discussed MCAS with an FAA AEG employee (“FAA AEG

  Employee-1”) and reiterated to FAA AEG Employee-1 the limited operational scope of MCAS.

  Boeing Subsequently Expanded MCAS’s Operational Scope Beyond High-Speed, Wind-Up Turns

         25.     Subsequently, Boeing expanded MCAS’s operational scope, including the speed

  range within which MCAS could activate, significantly altering its original design. Among other

  things, when the airplane registered a high angle of attack, the change expanded the speed range

  within which MCAS could activate from approximately Mach 0.6-0.8 to approximately Mach

  0.2-0.8—that is, from only high-speed flight to nearly the entire speed range for the 737 MAX,

  including low-speed flight, which generally occurs at a lower altitude and in and around takeoff

  and landing. Boeing disclosed this expansion to FAA personnel, but only to those personnel who

  were responsible for determining whether the 737 MAX met U.S. federal airworthiness standards.

  Boeing did not disclose the expansion to the FAA AEG personnel responsible for publishing the

  737 MAX FSB Report and making the training-related determination.




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  Boeing Advocated for the FAA AEG to Publish the 737 MAX FSB Report with No Greater Than
  “Level B” Differences Training

         26.     On or about August 16, 2016, before the FAA AEG published the 737 MAX FSB

  Report, the FAA AEG issued a provisional “Level B” differences-training determination for the

  737 MAX. At the time of this provisional determination, the FAA AEG was unaware that Boeing

  had expanded MCAS’s operational scope.

         27.     On or about the same day, Boeing Employee-1 recognized Boeing’s achievement

  in an email to Boeing employees, including Boeing Employee-2, and wrote that the FAA AEG’s

  provisional determination “culminates more than 3 years of tireless and collaborative efforts across

  many business units” and that the 737 MAX program management “is VERY happy.”

         28.     As Boeing Employee-1 and Boeing Employee-2 knew, the FAA AEG based its

  provisional “Level B” differences training for the 737 MAX in part on its understanding that

  MCAS could only activate during the limited operational scope of a high-speed, wind up turn.

         29.     Boeing Employee-1 and Boeing Employee-2 also understood, as Boeing

  Employee-1 acknowledged in his email on or about August 16, 2016, that the FAA AEG’s “Level

  B” differences determination for the 737 MAX was only a “provisional approval [. . .] assuming

  no significant systems changes to the airplane.”

         30.     For example, in an email to Boeing employees including Boeing Employee-2

  discussing a potential change to another part of the 737 MAX’s flight controls on or about

  November 10, 2016, Boeing Employee-1 emphasized that “[o]ne of the Program Directives we

  were given was to not create any differences [. . .]. This is what we sold to the regulators who

  have already granted us the Level B differences determination. To go back to them now, and tell

  them there is in fact a difference [. . .] would be a huge threat to that differences training

  determination.”



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                                     The Conspiracy Begins

  “Shocker Alert”: Boeing Employee-1 and Boeing Employee-2 Discovered MCAS’s Expanded
  Operational Scope

         31.    On or about November 15, 2016, during a test flight of the 737 MAX in a simulator,

  Boeing Employee-1 experienced what Boeing Employee-1 recognized as MCAS operating at

  lower speed. Boeing Employee-1 further recognized that this lower-speed operation was different

  from what Boeing had briefed and described to the FAA AEG.

         32.    On or about that same day, Boeing Employee-1 and Boeing Employee-2 discussed

  MCAS in an internal Boeing electronic chat communication, writing in part:

                 Boeing Employee-1: Oh shocker alerT! [sic] / MCAS is now
                 active down to [Mach] .2 / It’s running rampant in the sim on me
                 / at least that’s what [a Boeing simulator engineer] thinks is
                 happening

                 Boeing Employee-2: Oh great, that means we have to update the
                 speed trim description in vol 2

                 Boeing Employee-1: so I basically lied to the regulators
                 (unknowingly)

                 Boeing Employee-2: it wasn’t a lie, no one told us that was the case

         33.    At this point, Boeing Employee-1 and Boeing Employee-2 recognized that the FAA

  AEG was under the misimpression that MCAS operated only during a high-speed, wind up turn

  and could not operate at lower Mach speeds, such as at Mach 0.2. Boeing Employee-1 and Boeing

  Employee-2 therefore knew, at least as of the time of this chat communication, that the FAA

  AEG’s provisional “Level B” differences-training determination had been based in part on

  outdated and inaccurate information about MCAS.

         34.    Boeing Employee-1 and Boeing Employee-2 also knew that MCAS’s expanded

  operational scope was relevant to the FAA AEG’s decisions about the content of the 737 MAX




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  FSB Report, including whether to include information about MCAS. Boeing Employee-1 and

  Boeing Employee-2 similarly understood that it was their responsibility to update the FAA AEG

  about any relevant changes to the 737 MAX’s flight controls—such as MCAS’s expanded

  operational scope.

         35.      Despite knowing that the FAA AEG had issued its provisional “Level B”

  determination without any awareness that MCAS’s operational scope had been expanded to

  include high angle of attack conditions in nearly the entire speed range of ordinary commercial

  flight, Boeing Employee-1 and Boeing Employee-2 did not correct the FAA AEG’s understanding

  of MCAS’s operational scope or otherwise ensure that the FAA AEG’s “Level B” determination

  was based on an accurate understanding of MCAS’s operation. Instead, Boeing—through Boeing

  Employee-1 and Boeing Employee-2—intentionally withheld and concealed from the FAA AEG

  their knowledge of MCAS’s expanded operational scope.

  Boeing, Through Boeing Employee-1 and Boeing Employee-2, Deceived the FAA AEG About
  MCAS’s Operational Scope and Told the FAA AEG to Delete MCAS from the 737 MAX FSB
  Report

         36.     For example, shortly after the simulated test flight described in paragraph 30,

  Boeing Employee-1 talked with FAA AEG Employee-1, who asked Boeing Employee-1 about the

  simulated test flight. Boeing Employee-1 intentionally withheld and concealed from FAA AEG

  Employee-1 the fact that MCAS’s operational scope had been expanded beyond what the FAA

  AEG relied upon when it issued its provisional “Level B” differences-training determination for

  the 737 MAX.

         37.     Around the time that Boeing Employee-1 and Boeing Employee-2 discussed

  MCAS’s expanded operational scope, Boeing Employee-1 asked a Boeing senior engineer

  assigned to the 737 MAX program about MCAS’s operational scope. The senior engineer




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  confirmed to Boeing Employee-1 that MCAS could activate beyond the limited operational scope

  of a high-speed, wind-up turn. The senior engineer suggested that Boeing Employee-1 contact

  certain subject-matter experts at Boeing for more specific information about MCAS’s operational

  scope.

           38.   On or about November 17, 2016, the FAA AEG emailed three Boeing employees,

  including Boeing Employee-1, Boeing Employee-2, and another Boeing employee, a draft of the

  forthcoming 737 MAX FSB Report. That same day, Boeing Employee-1 asked Boeing

  Employee-2 and the other Boeing employee to review the draft 737 MAX FSB Report “for any

  glaring issues.”

           39.   On or about November 22, 2016, the other Boeing employee emailed the draft 737

  MAX FSB Report back to the FAA AEG with proposed edits. Boeing Employee-1 and Boeing

  Employee-2 were included on this email. Boeing Employee-1 included a proposed edit to delete

  a reference to MCAS, and wrote, “We agreed not to reference MCAS since it’s outside normal

  operating envelope.” Neither Boeing Employee-1 nor Boeing Employee-2 shared the fact of

  MCAS’s expanded operational scope with the FAA AEG or otherwise corrected the FAA AEG’s

  misimpression that MCAS’s operational scope was limited to high-speed, wind-up turns.

           40.   In doing so, Boeing Employee-1 and Boeing Employee-2 deceived the FAA AEG

  into believing that the basis upon which the FAA AEG had initially “agreed” to remove any

  information about MCAS from the 737 MAX FSB Report—that MCAS could only activate during

  the limited operational scope of a high-speed, wind-up turn—remained the same. Boeing

  Employee-1 and Boeing Employee-2 withheld their knowledge of MCAS from the FAA AEG to

  avoid risking the FAA AEG taking any action that could threaten the differences-training

  determination for the 737 MAX.




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         41.     On or about January 17, 2017, Boeing Employee-1 again reminded the FAA AEG

  in an email to delete any reference to MCAS from the forthcoming 737 MAX FSB Report, and

  wrote, “Flight Controls: Delete MCAS, recall we decided we weren’t going to cover it [. . .] since

  it’s way outside the normal operating envelope.” Again, Boeing Employee-1 deceived the FAA

  AEG into believing that the basis upon which the FAA AEG had initially “decided” to remove any

  information about MCAS from the 737 MAX FSB Report—that MCAS could only activate during

  the limited operational scope of a high-speed, wind-up turn—remained the same.

         42.     By concealing MCAS’s expanded operational scope from the FAA AEG, Boeing,

  through Boeing Employee-1 and Boeing Employee-2, defrauded, impaired, obstructed, defeated,

  and interfered with the FAA AEG’s lawful function to evaluate MCAS and to include information

  about MCAS in the 737 MAX FSB Report.

         43.     Based on Boeing’s misleading statements, half-truths, and omissions to the FAA

  AEG about MCAS, and in reliance on those statements and omissions, the FAA AEG agreed to

  delete all information about MCAS from the 737 MAX FSB Report.

         44.     From in or around January 2017 through in or around July 2017 (when the 737

  MAX FSB Report was published), Boeing Employee-1 and Boeing Employee-2 sent and caused

  to be sent emails to representatives of various Boeing airline customers that had agreed to purchase

  the 737 MAX, including major U.S.-based airlines. In these emails, Boeing Employee-1 and

  Boeing Employee-2 or members of their 737 MAX Flight Technical Team referenced and included

  drafts of the forthcoming 737 MAX FSB Report and airplane manuals and pilot-training materials

  for Boeing’s 737 MAX airline customers. None of these items contained any information about

  MCAS, consistent with Boeing Employee-1’s and Boeing Employee-2’s efforts to deceive the

  FAA AEG into deleting information about MCAS.




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  The FAA AEG Published the 737 MAX FSB Report Without Any Information about MCAS and
  Required No Greater than “Level B” Differences Training

         45.     On or about July 5, 2017, the FAA AEG published the first 737 MAX FSB Report,

  which included the FAA AEG’s “Level B” differences-training determination for the 737 MAX.

         46.     Because of Boeing’s intentional withholding of information from the FAA AEG,

  the final version of the 737 MAX FSB Report lacked information about MCAS, and relevant

  portions of this 737 MAX FSB Report were materially false, inaccurate, and incomplete. In turn,

  airplane manuals and pilot-training materials for U.S.-based airlines lacked information about

  MCAS, and relevant portions of these manuals and materials were similarly materially false,

  inaccurate, and incomplete as a result.

         47.     After the FAA AEG published the final version of the 737 MAX FSB Report,

  Boeing continued to sell, and Boeing’s U.S.-based airline customers were permitted to fly, the 737

  MAX. Pilots flying the 737 MAX for Boeing’s airline customers were not provided any

  information about MCAS in their airplane manuals and pilot-training materials.

  Lion Air Flight 610: The First 737 MAX Crash Exposed MCAS’s Operational Scope

         48.     On October 29, 2018, Lion Air Flight 610, a Boeing 737 MAX, crashed shortly

  after takeoff into the Java Sea near Indonesia. All 189 passengers and crew on board died.

         49.     Following the Lion Air crash, the FAA AEG learned that MCAS activated during

  the flight and may have played a role in the crash. The FAA AEG also learned for the first time

  about MCAS’s expanded operational scope.

         50.     In and around the same time, Boeing employees, including Boeing Employee-2,

  met with personnel from the FAA AEG to discuss, among other things, MCAS’s operational

  scope. After that meeting, Boeing Employee-2 told FAA AEG Employee-1 that he was previously




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  unaware of MCAS’s expanded operational scope and otherwise misled FAA AEG Employee-1

  about Boeing Employee-2’s prior knowledge of MCAS.

          51.     Also, in and around the same time, Boeing Employee-2 caused Boeing to present

  a false and misleading presentation to the FAA AEG about MCAS. Boeing investigated, among

  other things, what information Boeing Employee-1 and Boeing Employee-2 provided to the FAA

  AEG about MCAS. In connection with this investigation, Boeing Employee-2 caused Boeing to

  represent in a presentation to the FAA AEG that, during the training-evaluation process, Boeing

  and the FAA AEG had “discussed and agreed on [the] removal of MCAS” from the 737 MAX

  FSB Report and associated materials. This representation was misleading because Boeing

  Employee-2 had failed to disclose the “shocker alert” chat communication and the fact that the

  FAA AEG was deprived of relevant information about MCAS.

          52.     Following the Lion Air crash, Boeing proposed changes to the operational scope of

  MCAS, and the FAA AEG worked with Boeing to evaluate these changes to MCAS for purposes

  of pilot training.

  Ethiopian Airlines Flight 302: The Second 737 MAX Crash and the Grounding of the Fleet

          53.     On March 10, 2019, Ethiopian Airlines Flight 302, a Boeing 737 MAX, crashed

  shortly after takeoff near Ejere, Ethiopia. All 157 passengers and crew on board died. Following

  the Ethiopian Airlines crash, the FAA AEG learned that MCAS activated during the flight and

  may have played a role in the crash.

          54.     On March 13, 2019, the 737 MAX was officially grounded in the United States,

  indefinitely halting further flights of this airplane by any U.S.-based airline.




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         Boeing’s Pecuniary Gross Gain

         55.    Boeing derived a pecuniary gross gain of $243,600,000 by committing the offense

  with which it is charged in the criminal Information. This amount represents Boeing’s cost-

  savings from its above-described conduct associated with the implementation of full-flight

  simulator training for the 737 MAX.

                                         *      *      *




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                                         ATTACHMENT C

                           CORPORATE COMPLIANCE PROGRAM

         In order to address any deficiencies in its internal controls, compliance code, policies, and

  procedures regarding compliance with U.S. fraud laws in connection with interactions with any

  domestic or foreign government agency, including the integration of its ethics and compliance

  program with its safety and quality programs as designed to deter violations of anti-fraud laws or

  policies, The Boeing Company (the “Company”) agrees to continue to conduct, in a manner

  consistent with all of its obligations under this Agreement, appropriate reviews of its existing

  internal controls, policies, and procedures.

         Where necessary and appropriate, the Company agrees to modify its compliance program,

  including internal controls, compliance policies, and procedures in order to maintain: (a) an

  effective system of internal controls designed to ensure the completeness and accuracy of records

  pertaining to interactions with any domestic or foreign government agency; and (b) a rigorous anti-

  fraud compliance program that incorporates relevant internal controls, compliance policies, and

  procedures in order to maintain an effective compliance program that is designed, implemented,

  and enforced to effectively deter and detect violations of U.S. fraud laws. The contemplated

  improvements to the Company’s ethics and compliance program discussed herein include a

  commitment by the Company to the integration of its ethics and compliance program with its safety

  and quality programs for the purpose of deterring violations of anti-fraud laws or policies. At a

  minimum, this should include, but not be limited to, the following elements, to the extent they are

  not already part of the Company’s existing internal controls, compliance code, policies, and

  procedures:




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                                     Commitment to Compliance

          1.     The Company will ensure that its directors and senior management provide strong,

  explicit, and visible support and commitment to compliance with its corporate policy against

  violations of U.S. fraud laws, its compliance policies, and its Code of Conduct, and demonstrate

  rigorous support for compliance principles via their actions and words.

          2.     The Company will ensure that mid-level management throughout its organization

  reinforce leadership’s commitment to compliance policies and principles and encourage

  employees to abide by them. The Company will create and foster a culture of ethics and

  compliance with the law in their day-to-day operations at all levels of the Company.

                                Periodic Risk Assessment and Review

          3.     The Company will implement a risk management process to identify, analyze, and

  address the individual circumstances of the Company, in particular the fraud risks facing the

  Company.

          4.     On the basis of its periodic risk assessment, the Company shall take appropriate

  steps to design, implement, or modify each element of its compliance program to reduce the risk

  of violations of U.S. fraud laws, its compliance policies, and its Code of Conduct.

                                       Policies and Procedures

          5.     The Company will develop and promulgate a clearly articulated and visible

  corporate policy against violations of U.S. fraud laws, which shall be memorialized in a written

  compliance policy or policies.

          6.     The Company will develop and promulgate compliance policies and procedures

  designed to reduce the prospect of violations of U.S. fraud laws and the Company’s compliance

  policies and Code of Conduct, and the Company will take appropriate measures to encourage and




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  support the observance of ethics and compliance policies and procedures against violations of U.S.

  fraud laws by personnel at all levels of the Company. These anti-fraud policies and procedures

  shall apply to all directors, officers, and employees and, where necessary and appropriate, outside

  parties acting on behalf of the Company, including all agents and business partners. The Company

  shall notify all employees that compliance with the policies and procedures is the duty of

  individuals at all levels of the Company.

          7.     The Company will ensure that it has a system of internal controls reasonably

  designed to ensure the completeness and accuracy of records pertaining to interactions with any

  domestic or foreign government agency.

          8.     The Company shall review its anti-fraud compliance policies and procedures as

  necessary to address changing and emerging risks and update them as appropriate to ensure their

  continued effectiveness, taking into account relevant developments in the field and evolving

  international and industry standards.

                        Independent, Autonomous, and Empowered Oversight

          9.     The Company will assign responsibility to one or more senior corporate executives

  of the Company for the implementation and oversight of the Company’s anti-fraud compliance

  policies and procedures. Such corporate official(s) shall have the authority to report directly to

  independent monitoring bodies, including internal audit, the Company’s Board of Directors, or

  any appropriate committee of the Company’s Board of Directors, and shall have an adequate level

  of autonomy from management as well as sufficient resources, authority, and support from senior

  leadership to maintain such autonomy.




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                                         Training and Guidance

          10.    The Company will implement mechanisms designed to ensure that its Code of

  Conduct and anti-fraud compliance policies and procedures are effectively communicated to all

  directors, officers, employees, and, where necessary and appropriate, agents and business partners.

  These mechanisms shall include: (a) periodic training for all directors and officers, all employees

  in positions of leadership or trust, positions that require such training (e.g., internal audit, sales,

  legal, compliance, finance), or positions that otherwise pose a fraud risk to the Company, and,

  where necessary and appropriate, agents and business partners; and (b) metrics for measuring

  knowledge retention and effectiveness of the training. The Company will conduct training in a

  manner tailored to the audience’s size, sophistication, or subject matter expertise and, where

  appropriate, will discuss prior compliance incidents.

          11.    The Company will maintain, or where necessary establish, an effective system for

  providing guidance and advice to directors, officers, employees, and, where necessary and

  appropriate, agents and business partners, on complying with the Company’s anti-fraud

  compliance policies and procedures, including when they need advice on an urgent basis.

                  Confidential Reporting Structure and Investigation of Misconduct

          12.    The Company will maintain, or where necessary establish, an effective system for

  internal and, where possible, confidential reporting concerning violations of the Company’s Code

  of Conduct or anti-fraud compliance policies and procedures and protection of directors, officers,

  employees, and, where appropriate, agents and business partners, who make such reports. To

  ensure effectiveness, the Company commits to following applicable anti-retaliation and

  whistleblower protection laws, and to appropriately training employees on such laws.




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          13.    The Company will maintain, or where necessary establish, an effective and reliable

  process with sufficient resources for responding to, investigating, and documenting allegations of

  violations of U.S. fraud laws or the Company’s anti-fraud compliance policies and procedures.

                      Compensation Structures and Consequence Management

          14.    The Company will implement clear mechanisms to incentivize behavior amongst

  all directors, officers, employees, and, where necessary and appropriate, parties acting on behalf

  of the Company that comply with its corporate policy against violations of the anti-fraud laws, its

  compliance policies, and its Code of Conduct. These incentives shall include, but shall not be

  limited to, the implementation of criteria related to compliance in the Company’s compensation

  and bonus system.

          15.    The Company will institute appropriate disciplinary procedures to address, among

  other things, violations of the anti-fraud laws and the Company’s Code of Conduct and anti-fraud

  compliance policies and procedures by the Company’s directors, officers, and employees. Such

  procedures should be applied consistently and fairly, regardless of the position held by, or

  perceived importance of, the director, officer, or employee. The Company shall implement

  procedures designed to ensure that where misconduct is discovered, reasonable steps are taken to

  remedy the harm resulting from such misconduct, and designed to ensure that appropriate steps

  are taken to prevent further similar misconduct, including assessing the internal controls, Code of

  Conduct, and compliance policies and procedures and making modifications necessary to ensure

  the overall anti-fraud compliance program is effective.




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                                      Third-Party Management

          16.    The Company will institute appropriate risk-based due diligence and compliance

  requirements pertaining to the retention and oversight of all agents and business partners,

  including:

                 a.     properly documented due diligence pertaining to the hiring and appropriate

  and regular oversight of agents and business partners;

                 b.     informing agents and business partners of the Company’s commitment to

  abiding by U.S. fraud laws, and of the Company’s Code of Conduct and anti-fraud compliance

  policies and procedures; and

                 c.     seeking a reciprocal commitment from agents and business partners.

          17.    Where necessary and appropriate, the Company will include standard provisions in

  agreements, contracts, and renewals thereof with all agents and business partners that are

  reasonably calculated to prevent violations of U.S. fraud laws, which may, depending upon the

  circumstances, include: (a) representations and undertakings relating to compliance with U.S.

  fraud laws; (b) rights to conduct audits of the records of the agent or business partner to promote

  compliance with the foregoing; and (c) rights to terminate an agent or business partner as a result

  of any breach of U.S. fraud laws, the Company’s Code of Conduct or compliance policies or

  procedures, or the representations and undertakings related to such matters.

                                      Mergers and Acquisitions

          18.    The Company will develop and implement policies and procedures for mergers and

  acquisitions requiring that the Company conduct appropriate risk-based due diligence on potential

  new business entities, including appropriate U.S. fraud law due diligence by legal, accounting, and

  compliance personnel.




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          19.    The Company will apply its Code of Conduct and compliance policies and

  procedures regarding U.S. fraud laws as quickly as is practicable to newly acquired businesses or

  entities merged with the Company and will promptly:

                 a.      train the directors, officers, employees, agents, and business partners

  consistent with Paragraph 10 above on U.S. fraud laws and the Company’s compliance policies

  and procedures regarding U.S. fraud laws;

                 b.      where warranted, conduct a fraud-specific audit of all newly acquired or

  merged businesses as quickly as practicable; and

                 c.      where warranted, establish a plan to integrate the acquired businesses or

  entities into the Company’s enterprise resource planning systems as quickly as practicable.

                                          Monitoring and Testing

          20.    The Company will conduct periodic reviews and testing of all elements of its

  compliance program to evaluate and improve their effectiveness in preventing and detecting

  violations of U.S. fraud laws and the Company’s Code of Conduct and anti-fraud compliance

  policies and procedures, taking into account relevant developments in the field and evolving

  international and industry standards.

          21.    The Company will ensure that compliance and control personnel have sufficient

  direct or indirect access to relevant sources of data to allow for timely and effective monitoring

  and/or testing of transactions.

                               Analysis and Remediation of Misconduct

          22.    The Company will conduct a root cause analysis of misconduct, including prior

  misconduct, to identify any systemic issues and/or any control failures. The Company will timely

  and appropriately remediate the root causes of misconduct. The Company will ensure that root




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  causes, including systemic issues and control failures, and relevant remediations are shared with

  management as appropriate.




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                                         ATTACHMENT D

                           INDEPENDENT COMPLIANCE MONITOR

           The duties and authority of the Independent Compliance Monitor, and the obligations of

  The Boeing Company (the “Company”), on behalf of itself and its subsidiaries and affiliates, with

  respect to the Independent Compliance Monitor and the United States Department of Justice,

  Criminal Division, Fraud Section (the “Fraud Section”) and the United States Attorney’s Office

  for the Northern District of Texas (“USAO-NDTX”) (collectively, the “Offices”), are as described

  below:

           1.     It shall be a special condition of probation that the Company retain the Independent

  Compliance Monitor. However, it is not a condition of probation that the Court oversee the

  Independent Compliance Monitor. Rather, the Independent Compliance Monitor will report to and

  be overseen by the Offices. The Independent Compliance Monitor’s selection process, mandate,

  duties, review, and certification as described herein, and the Defendant’s compliance obligations

  as described in Paragraphs 7(k), 8, and 9 and Attachment C are not conditions of probation.

           2.     The Company will retain the Independent Compliance Monitor for a period of three

  years (the “Term of the Monitorship”) unless the early termination provision of Paragraph 36 of

  the Plea Agreement (the “Agreement”) is triggered.

                             Independent Compliance Monitor’s Mandate

           3.     The Independent Compliance Monitor’s primary responsibility is to assess and

  monitor the Company’s compliance with Paragraph 7(k) of the Agreement, including the

  Corporate Compliance Program in Attachment C, as necessary to address and reduce the risk of

  any recurrence of the Company’s misconduct, as described in Attachment A-2, and to address the

  Offices’ basis for breach, as described in Attachment A-1. During the Term of the Monitorship,




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  the Independent Compliance Monitor will evaluate, in the manner set forth below, the

  effectiveness of the Company’s compliance program and internal controls, record-keeping,

  policies, and procedures as they relate to the Company’s current and ongoing compliance with

  U.S. fraud laws, particularly in connection with interactions with any domestic or foreign

  government agency, with a focus on the integration of its compliance program with its safety and

  quality programs as necessary to detect and deter violations of anti-fraud laws or policies, and take

  such reasonable steps as, in his or her view, may be necessary to fulfill the foregoing mandate (the

  “Mandate”). This Mandate shall include an assessment of the Board of Directors’ and senior

  management’s commitment to, and effective implementation of, the corporate compliance

  program described in Attachment C of the Agreement as necessary to address and reduce the risk

  of any recurrence of the Company’s misconduct, as described in Attachment A-2, and to address

  the Offices’ basis for breach, as described in Attachment A-1.

         4.      The Independent Compliance Monitor’s Mandate is not intended to supplant the

  oversight authority of the Federal Aviation Administration (FAA)—or that of any pertinent foreign

  aviation regulator, e.g., the European Union Aviation Safety Agency—including over matters

  related to design, engineering, manufacturing, and safety. The same is true as to the authority of

  the National Transportation Safety Board (“NTSB”). As a result, the Independent Compliance

  Monitor’s Mandate does not include substantive review of the Company’s design, engineering, or

  manufacturing processes and decisions, or of the correctness of any of the Company’s decisions

  relating to compliance with the FAA’s regulatory regime.

                                        Company’s Obligations

         5.      The Company shall cooperate fully with the Independent Compliance Monitor, and

  the Independent Compliance Monitor shall have the authority to take such reasonable steps as, in




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  his or her view, may be necessary to be fully informed about the Company’s compliance program

  in accordance with the principles set forth herein and subject to applicable law, including

  applicable data protection and labor laws and regulations. To that end, the Company shall:

  facilitate the Independent Compliance Monitor’s access to the Company’s documents and

  resources; not limit such access, except as provided in Paragraphs 7-8; and provide guidance on

  applicable local law (such as relevant data protection and labor laws). The Company shall provide

  the Independent Compliance Monitor with access to all information, documents, records, facilities,

  and employees, as reasonably requested by the Independent Compliance Monitor, that fall within

  the scope of the Mandate of the Independent Compliance Monitor under the Agreement. The

  Company shall use its best efforts to provide the Independent Compliance Monitor with access to

  the Company’s former employees and its third-party vendors, agents, and consultants. Fees and

  costs associated with the Monitorship shall be expressly unallowable costs for government contract

  accounting purposes.

         6.      Any disclosure by the Company to the Independent Compliance Monitor

  concerning evidence or allegations of violations of U.S. fraud laws shall not relieve the Company

  of any otherwise applicable obligation to truthfully disclose such matters to the Offices, pursuant

  to the Agreement. Notwithstanding any other provision of this Attachment D, the Company shall

  retain its attorney-client privilege and work-product protections and in no event shall be required

  to waive its attorney-client privilege.

                                            Withholding Access

         7.      The parties agree that no attorney-client relationship shall be formed between the

  Company and the Independent Compliance Monitor. In the event that the Company seeks to

  withhold from the Independent Compliance Monitor access to information, documents, records,




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  facilities, or current or former employees of the Company that may be subject to a claim of

  attorney-client privilege or to the attorney work-product doctrine, or where the Company

  reasonably believes production would otherwise be inconsistent with applicable law, the Company

  shall work cooperatively with the Independent Compliance Monitor to resolve the matter to the

  satisfaction of the Independent Compliance Monitor.

         8.      If the matter cannot be resolved, at the request of the Independent Compliance

  Monitor, the Company shall promptly provide written notice to the Independent Compliance

  Monitor and the Offices. Such notice shall include a general description of the nature of the

  information, documents, records, facilities, or current or former employees that are being withheld,

  as well as the legal basis for withholding access. The Offices may then consider whether to make

  a further request for access to such information, documents, records, facilities, or employees.

                      Independent Compliance Monitor’s Coordination with the
                                Company and Review Methodology

         9.      In carrying out the Mandate, to the extent appropriate under the circumstances, the

  Independent Compliance Monitor should coordinate with Company personnel, including in-house

  counsel, compliance personnel, and internal auditors, on an ongoing basis. The Independent

  Compliance Monitor may rely on the product of the Company’s processes, such as the results of

  studies, reviews, sampling and testing methodologies, audits, and analyses conducted by or on

  behalf of the Company, as well as the Company’s internal resources (e.g., legal, compliance, and

  internal audit), which can assist the Independent Compliance Monitor in carrying out the Mandate

  through increased efficiency and Company-specific expertise, provided that the Independent

  Compliance Monitor has confidence in the quality of those resources.

         10.     The Independent Compliance Monitor’s reviews should use a risk-based approach,

  and thus, the Independent Compliance Monitor is not expected to conduct a comprehensive review



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  of all business lines, all business activities, or all markets. In carrying out the Mandate, the

  Independent Compliance Monitor should consider, for instance, risks presented by: (a) the

  industries in which the Company operates; (b) business interactions with government officials,

  including the amount of government regulation and oversight of the Company in conducting its

  business affairs—but note, as stated in Paragraph 4 above, that the mandate does not include

  review of the correctness of any of the Company’s decisions relating to compliance with the FAA’s

  regulatory regime; (c) current and future business opportunities and transactions; and (d) current

  and potential business partners, including third parties and joint ventures, and the business

  rationale for such relationships.

         11.     In undertaking the reviews to carry out the Mandate, the Independent Compliance

  Monitor shall formulate conclusions based on, among other things: (a) inspection of relevant

  documents, including the Company’s current policies and procedures governing compliance with

  U.S. fraud laws; (b) on-site observation of selected systems and procedures of the Company at

  sample sites, including internal accounting controls, record-keeping, and internal audit procedures;

  (c) meetings with, and interviews of, relevant current and, where appropriate, former directors,

  officers, employees, business partners, agents, and other persons at mutually convenient times and

  places; and (d) analyses, studies, and testing of the Company’s compliance program.

                       Independent Compliance Monitor’s Written Work Plans

         12.     To carry out the Mandate, during the Term of the Monitorship, the Independent

  Compliance Monitor shall conduct an initial (“first”) review and prepare a first report, followed

  by at least two follow-up reviews and reports as described in Paragraphs 19-26 below. With respect

  to the first report, after consultation with the Company and the Offices, the Independent

  Compliance Monitor shall prepare the first written work plan within sixty (60) calendar days of




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  being retained, and the Company and the Offices shall provide comments within thirty (30)

  calendar days after receipt of the written work plan. The Offices’ comments shall ensure that the

  Independent Compliance Monitor’s review is within the Mandate. With respect to each follow-up

  report, after consultation with the Company and the Offices, the Independent Compliance Monitor

  shall prepare a written work plan at least thirty (30) calendar days prior to commencing a review,

  and the Company and the Offices shall provide comments within twenty (20) calendar days after

  receipt of the written work plan. Any disputes between the Company and the Independent

  Compliance Monitor with respect to any written work plan shall be decided by the Offices in their

  sole discretion. All written work plans shall identify with reasonable specificity the activities the

  Independent Compliance Monitor plans to undertake in execution of the Mandate, including a

  written request for documents. The Independent Compliance Monitor’s work plan for the first

  review shall include such steps as are reasonably necessary to conduct an effective first review in

  accordance with the Mandate, including by developing an understanding, to the extent the

  Independent Compliance Monitor deems appropriate, of the facts and circumstances surrounding

  any violations that may have occurred before the date of the Agreement. In developing such

  understanding, the Independent Compliance Monitor is to rely, to the extent possible, on available

  information and documents provided by the Company. It is not intended that the Independent

  Compliance Monitor will conduct his or her own inquiry into the historical events that gave rise

  to the Agreement.

                                       First Review and Report

         13.     The first review shall commence no later than one hundred twenty (120) calendar

  days from the date of the engagement of the Independent Compliance Monitor (unless otherwise

  agreed by the Company, the Independent Compliance Monitor, and the Offices). The Independent




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  Compliance Monitor shall issue a written report within one hundred fifty calendar (150) days of

  commencing the first review, setting forth the Independent Compliance Monitor’s assessment and,

  if necessary, making recommendations within the scope of the Mandate reasonably designed to

  improve the effectiveness of the Company’s program for ensuring compliance with U.S. fraud

  laws. The Independent Compliance Monitor should consult with the Company concerning his or

  her findings and recommendations on an ongoing basis and should consider the Company’s

  comments and input to the extent the Independent Compliance Monitor deems appropriate. The

  Independent Compliance Monitor may also choose to share a draft of his or her reports with the

  Company prior to finalizing them. The Independent Compliance Monitor’s reports need not recite

  or describe comprehensively the Company’s history or compliance policies, procedures and

  practices. Rather, the reports should focus on areas the Independent Compliance Monitor has

  identified as requiring recommendations for improvement or which the Independent Compliance

  Monitor otherwise concludes merit particular attention. The Independent Compliance Monitor

  shall provide the report to the Board of Directors of the Company and contemporaneously transmit

  copies to:

                Deputy Chief – MIMF Unit
                Deputy Chief – CECP Unit
                Criminal Division, Fraud Section
                U.S. Department of Justice
                1400 New York Avenue N.W.
                Bond Building, Fourth Floor
                Washington, D.C. 20005

                Chief – Fraud and Public Corruption Section
                United States Attorney’s Office
                Northern District of Texas
                1100 Commerce Street, Third Floor
                Dallas, TX 75242




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  After consultation with the Company, the Independent Compliance Monitor may extend the time

  period for issuance of the first report for a brief period of time with prior written approval of the

  Offices.

         14.     The Independent Compliance Monitor shall, at the time the first written report is

  issued, provide the Company and the Offices with a proposed executive summary of the report.

  The Company and the Offices shall have fourteen (14) days to provide comments on the executive

  summary. Comments shall be limited to factual inaccuracies, confidential information, or personal

  identifying information that should not be part of the public record.

         15.     Within thirty (30) calendar days of issuing the first written report, the Independent

  Compliance Monitor shall file an executive summary of the report on the public court docket.

         16.     Within one hundred fifty (150) calendar days after receiving the Independent

  Compliance Monitor’s first report, the Company shall adopt and implement all recommendations

  in the report. If the Company considers any recommendations unduly burdensome, inconsistent

  with applicable law or regulation, impractical, excessively expensive, or otherwise inadvisable, it

  must notify the Independent Compliance Monitor and the Offices of any such recommendations

  in writing within sixty (60) calendar days of receiving the report. The Company need not adopt

  those recommendations within the one hundred fifty (150) calendar days of receiving the report

  but shall propose in writing to the Independent Compliance Monitor and the Offices an alternative

  policy, procedure, or system designed to achieve the same objective or purpose. As to any

  recommendation on which the Company and the Independent Compliance Monitor do not agree,

  such parties shall attempt in good faith to reach an agreement within forty-five (45) calendar days

  after the Company serves the written notice.




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         17.     In the event the Company and the Independent Compliance Monitor are unable to

  agree on an acceptable alternative proposal, the Company shall promptly consult with the Offices.

  The Offices may consider the Independent Compliance Monitor’s recommendation and the

  Company’s reasons for not adopting the recommendation in determining whether the Company

  has fully complied with its obligations under the Agreement. Pending such determination, the

  Company shall not be required to implement any contested recommendation(s).

         18.     With respect to any recommendation that the Independent Compliance Monitor

  determines cannot reasonably be implemented within one hundred fifty (150) calendar days after

  receiving the report, the Independent Compliance Monitor may extend the time period for

  implementation with prior written approval of the Offices.

                                   Follow-Up Reviews and Reports

         19.     A follow-up review shall commence no later than one hundred and eighty (180)

  calendar days after the issuance of the first report (unless otherwise agreed by the Company, the

  Independent Compliance Monitor, and the Offices). The Independent Compliance Monitor shall

  issue a written follow-up (“second”) report within one hundred twenty (120) calendar days of

  commencing the second review, setting forth the Independent Compliance Monitor’s assessment

  and, if necessary, making recommendations within the scope of the Mandate in the same fashion

  as set forth in Paragraph 13 with respect to the first review. After consultation with the Company,

  the Independent Compliance Monitor may extend the time period for issuance of the second report

  for a brief period of time with prior written approval of the Offices.

         20.     Within thirty (30) calendar days of issuing the second report, the Independent

  Compliance Monitor shall file an executive summary of the report on the public court docket. The

  Independent Compliance Monitor, the Offices, and the Company shall follow the same process




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  outlined in Paragraph 14, above, for review and comment on the executive summary prior to the

  filing of the executive summary on the public court docket.

         21.        Within one hundred twenty (120) calendar days after receiving the Independent

  Compliance Monitor’s second report, the Company shall adopt and implement all

  recommendations in the report, unless, within thirty (30) calendar days after receiving the report,

  the Company notifies in writing the Independent Compliance Monitor and the Offices concerning

  any recommendations that the Company considers unduly burdensome, inconsistent with

  applicable law or regulation, impractical, excessively expensive, or otherwise inadvisable. With

  respect to any such recommendation, the Company need not adopt that recommendation within

  the one hundred twenty (120) calendar days of receiving the report but shall propose in writing to

  the Independent Compliance Monitor and the Offices an alternative policy, procedure, or system

  designed to achieve the same objective or purpose. As to any recommendation on which the

  Company and the Independent Compliance Monitor do not agree, such parties shall attempt in

  good faith to reach an agreement within thirty (30) calendar days after the Company serves the

  written notice.

         22.        In the event the Company and the Independent Compliance Monitor are unable to

  agree on an acceptable alternative proposal, the Company shall promptly consult with the Offices.

  The Offices may consider the Independent Compliance Monitor’s recommendation and the

  Company’s reasons for not adopting the recommendation in determining whether the Company

  has fully complied with its obligations under the Agreement. Pending such determination, the

  Company shall not be required to implement any contested recommendation(s). With respect to

  any recommendation that the Independent Compliance Monitor determines cannot reasonably be

  implemented within one hundred twenty (120) calendar days after receiving the report, the




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  Independent Compliance Monitor may extend the time period for implementation with prior

  written approval of the Offices.

         23.     The Independent Compliance Monitor shall undertake a second follow-up (“third”)

  review not later than one hundred fifty (150) days after the issuance of the second report. The

  Independent Compliance Monitor shall issue a third report within one hundred and twenty (120)

  days of commencing the review, and recommendations shall follow the same procedures described

  in Paragraphs 16-18.

         24.     Within thirty (30) calendar days of issuing the third report, the Independent

  Compliance Monitor shall file an executive summary of the report on the public court docket. The

  Independent Compliance Monitor, the Offices, and the Company shall follow the same process

  outlined in Paragraph 14, above, for review and comment on the executive summary prior to the

  filing of the executive summary on the public court docket.

         25.     Following the third review, the Independent Compliance Monitor shall certify

  whether the Company’s compliance program, including its policies, procedures, and internal

  controls, is reasonably designed and implemented to prevent and detect violations of U.S. fraud

  laws. The final review and report shall be completed and delivered to the Offices no later than

  sixty (60) days before the end of the Term.

         26.     Within thirty (30) calendar days of issuing the final report, the Independent

  Compliance Monitor shall file an executive summary of the report on the public court docket. The

  Independent Compliance Monitor, the Offices, and the Company shall follow the same process

  outlined in Paragraph 14, above, for review and comment on the executive summary prior to the

  filing of the executive summary on the public court docket.




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          Independent Compliance Monitor’s Discovery of Potential or Actual Misconduct

         27.     (a)    Except as set forth below in sub-paragraphs (b), (c) and (d), should the

  Independent Compliance Monitor discover during the course of his or her engagement that the

  Company may have engaged in unlawful activity in violation of U.S. laws (“Potential

  Misconduct”), the Independent Compliance Monitor shall immediately report the Potential

  Misconduct to the Company’s General Counsel, Chief Compliance Officer, and/or Audit

  Committee for further action, unless the Potential Misconduct was already so disclosed. The

  Independent Compliance Monitor also may report Potential Misconduct to the Offices at any time,

  and shall report Potential Misconduct to the Offices when they request the information.

                 (b)    In some instances, the Independent Compliance Monitor should

  immediately report Potential Misconduct directly to the Offices and not to the Company. The

  presence of any of the following factors militates in favor of reporting Potential Misconduct

  directly to the Offices and not to the Company, namely, where the Potential Misconduct: (1) poses

  a risk to public health or safety or the environment; (2) involves senior management of the

  Company; (3) involves obstruction of justice; or (4) otherwise poses a substantial risk of harm.

                 (c)    If the Independent Compliance Monitor believes that any Potential

  Misconduct has occurred and/or may constitute a crime (“Actual Misconduct”), the Independent

  Compliance Monitor shall immediately report the Actual Misconduct to the Offices. When the

  Independent Compliance Monitor discovers Actual Misconduct, the Independent Compliance

  Monitor shall disclose the Actual Misconduct solely to the Offices, and, in such cases, disclosure

  of the Actual Misconduct to the General Counsel, Chief Compliance Officer, and/or the Audit

  Committee of the Company should occur as the Offices and the Independent Compliance Monitor

  deem appropriate under the circumstances.




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                  (d)       The Independent Compliance Monitor shall address in his or her reports the

  appropriateness of the Company’s response to disclosed Potential Misconduct or Actual

  Misconduct, whether previously disclosed to the Offices or not.

                  (e)       Further, if the Company or any entity or person working directly or

  indirectly for or on behalf of the Company withholds information necessary for the performance

  of the Independent Compliance Monitor’s responsibilities and the Independent Compliance

  Monitor believes that such withholding is without just cause, the Independent Compliance Monitor

  shall also immediately disclose that fact to the Offices and address the Company’s failure to

  disclose the necessary information in his or her reports.

                  (f)       Neither the Company nor anyone acting on its behalf shall take any action

  to retaliate against the Independent Compliance Monitor for any such disclosures or for any other

  reason.

                               Meetings During the Term of the Monitorship

            28.   The Independent Compliance Monitor shall meet with the Offices within thirty (30)

  calendar days after providing each report to the Offices to discuss the report, to be followed by a

  meeting between the Offices, the Independent Compliance Monitor, and the Company.

            29.   At least annually, and more frequently if appropriate, representatives from the

  Company and the Offices will meet to discuss the Monitorship and any suggestions, comments, or

  improvements the Company may wish to discuss with or propose to the Offices, including with

  respect to the scope or costs of the Monitorship.

                        Confidentiality of Independent Compliance Monitor’s Reports

            30.   The Independent Compliance Monitor’s reports will likely include proprietary,

  financial, confidential, and competitive business information. Moreover, public disclosure of the




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  reports could discourage cooperation, or impede pending or potential government investigations

  and thus undermine the objectives of the Monitorship. For these reasons, among others, the reports

  and the contents thereof are intended to remain and shall remain non-public, except as otherwise

  agreed to by the parties in writing, or except to the extent that the Offices determine in their sole

  discretion that disclosure would be in furtherance of the Offices’ discharge of their duties and

  responsibilities or is otherwise required by law. As set forth above, however, within thirty (30)

  calendar days of issuing each report, the Independent Compliance Monitor shall file an executive

  summary of the report on the public court docket.




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                                         ATTACHMENT E

                                         CERTIFICATION

  To:    United States Department of Justice
         Criminal Division, Fraud Section

         United States Attorney’s Office
         Northern District of Texas

  Re:    Plea Agreement Disclosure Certification


         The undersigned certify, pursuant to Paragraph 12 of the plea agreement (“the Agreement”)

  filed on [DATE] in the United States District Court for the Northern District of Texas, by and

  between the United States of America and The Boeing Company (the “Company”), that

  undersigned are aware of the Company’s disclosure obligations under Paragraph 12 of the

  Agreement, and that the Company has disclosed to the United States Department of Justice,

  Criminal Division, Fraud Section and the United States Attorney’s Office for the Northern District

  of Texas (collectively, “the Offices”) any and all evidence or allegations of conduct required

  pursuant to Paragraph 12 of the Agreement, which includes evidence or allegations of any violation

  of U.S. fraud laws committed by the Company’s employees or agents upon any domestic or foreign

  government agency (“Disclosable Information”). This obligation to disclose information extends

  to any and all Disclosable Information that has been identified through the Company’s compliance

  and controls program, whistleblower channel, internal audit reports, due diligence procedures,

  investigation process, or other processes. The undersigned further acknowledge and agree that the

  reporting requirements contained in Paragraph 12 and the representations contained in this

  certification constitute a significant and important component of the Agreement and of the Offices’

  determination whether the Company has satisfied its obligations under the Agreement.




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         The undersigned hereby certify that they are the Chief Executive Officer and the Chief

  Financial Officer of the Company, respectively, and that each has been duly authorized by the

  Company to sign this Certification on behalf of the Company.

         This Certification shall constitute a material statement and representation by the

  undersigned and by, on behalf of, and for the benefit of, the Company to the executive branch of

  the United States for purposes of 18 U.S.C. § 1001, and such material statement and representation

  shall be deemed to have been made in the Northern District of Texas. This Certification shall also

  constitute a record, document, or tangible object in connection with a matter within the jurisdiction

  of a department and agency of the United States for purposes of 18 U.S.C. § 1519, and such record,

  document, or tangible object shall be deemed to have been made in the Northern District of Texas.



  Date: _____________________           Name (Printed): __________________________________


                                        Name (Signed): __________________________________
                                        Chief Executive Officer
                                        The Boeing Company


  Date: _____________________           Name (Printed): __________________________________


                                        Name (Signed): __________________________________
                                        Chief Financial Officer
                                        The Boeing Company




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                                          ATTACHMENT F

                                COMPLIANCE CERTIFICATION
 To:    United States Department of Justice
        Criminal Division, Fraud Section

        United States Attorney’s Office
        Northern District of Texas

 Re:    Plea Agreement Certification


        The undersigned certify, pursuant to Paragraph 8 of the Plea Agreement filed on [DATE],

 in the United States District Court for the Northern District of Texas, by and between the United

 States of America and The Boeing Company (the “Company”) (the “Agreement”), that the

 undersigned are aware of the Company’s compliance obligations under Paragraphs 8 and 9 of the

 Agreement, and that, based on the undersigned’s review and understanding of the Company’s anti-

 fraud compliance program, the Company has implemented an anti-fraud compliance program that

 meets the requirements set forth in Attachment C to the Agreement. The undersigned certify that

 such compliance program is reasonably designed to detect and prevent violations of the U.S. fraud

 laws throughout the Company’s operations.

        The undersigned hereby certify that they are respectively the Chief Executive Officer of the

 Company and the Chief Compliance Officer of the Company and that each has been duly authorized

 by the Company to sign this Certification on behalf of the Company.

        This Certification shall constitute a material statement and representation by the

 undersigned and by, on behalf of, and for the benefit of, the Company to the executive branch of

 the United States for purposes of 18 U.S.C. § 1001, and such material statement and representation

 shall be deemed to have been made in the Northern District of Texas. This Certification shall also

 constitute a record, document, or tangible object in connection with a matter within the jurisdiction


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 of a department and agency of the United States for purposes of 18 U.S.C. § 1519, and such record,

 document, or tangible object shall be deemed to have been made in the Northern District of Texas.



 Date: _____________________          Name (Printed): __________________________________


                                      Name (Signed): __________________________________
                                      Chief Executive Officer
                                      The Boeing Company


 Date: _____________________          Name (Printed): __________________________________


                                      Name (Signed): __________________________________
                                      Chief Compliance Officer
                                      The Boeing Company




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